CaSe:lS-GOZ?G-SDB DOC#ZJ_ Filed:O?/OZ/J_S Entered207/02/1815244236 Page:l Of 59

Fill in this information to identify your case:

 

United Siates Bankruptcy Court for ihe:

SOU'|'HERN D|STR|CT OF GEORG|A

 

Case number (irknawn) Chapier you are filing under:

 

- Chapter 7
l:| Chapter 11
l;i Chapter 12

|:.l Chapter 13 l] Check ifthis an
amended filing

 

 

 

Officiai Form 101
Voluntary Petition for individuals Filing for Bankruptcy mm

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a joint
case-and in joint cases, these forms use you to ask for information from both debtors. For examp|e, if a form asks, "Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separate|y, the form uses Debtor 1 and Debtor 2to distinguish
between them. in joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information. if

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

identify You rself

About Debtor 1: A_bout Debtor 2 (Spouse Only in a Joint Case):
'l. \’our full name

Wriie the name that is on Charles

 

 

 

 

 

 

your government-issued Firsi name First name
picture identification (for
example, your driver's Kevin
|'cense or passp°d)' lViiddle name Middle name
Bring your picture
. . . Deai
identliicaiion to our
y Lasi name and Sufi'lx (Sr.. Jr., ii, l||) Last name and Sufo (Sr., Jr., |i. |ll)

meeting with the trustee

 

2. All other names you have
used in the last 8 years Kevin neal

include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal xxx`xx_1557
individual Taxpayer
identification number
(lT|N)

 

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 1

named CQ£§€§:§§G§%%Z|€-SDB Doc#:l Filed:07/02/18 Entered:O?/Q§;ét§";i,,§'r%f¢},;o§,§ Page:Z of 59

 

4. Any business names and
Employer identification
Numbers (ElN) you have
used in the last 8 years

include trade names and
doing business as names

AboutDebtor1:

l:l | have not used any business name or Ele.

DBA Kevin Deal Farms
DBA Cross Creek Farms

 

About Debtor 2 [Spouse Oniy in a Joint Case):

|:| | have not used any business name or Ele.

 

 

Business name(s)

Business name(s)

 

 

E|NS

E|Ns

 

5. Where you live

811 Kevin Deal Road
Statesboro, GA 30458

 

Number, Street. Ciiy. State & ZlP Code

Bulioch

if Debtor 2 lives at a different address:

 

Numberl Street, City, Staie 81 Z|P Code

 

 

County

if your mailing address is different from the one
above, fill it in here. Note that the court wi|| send any
notices to you at this mailing address

County

if Debtor 2‘s mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

 

 

Number. F'.O. Box, Street, City. State & Zli'-‘ Code

Nun'lber, P.O. Box. Street‘ City. Staie & ZiF’ Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

- Over the last 180 days before filing this petition.

l have lived in this district longer than in any
other district.

i:i l have another reason.
Exp|ain_ (See 28 U.S.C. § 1408.)

 

Check one:

i:i Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district

i:| | have another reason
Explain. (See 28 U.S.C. § 1408.)

 

 

Ofiicial Form 101

`Voluntary Petition for individuals Filing for Bankruptcy

page 2

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Tell the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

 

 

 

 

7. The chapter of the Check orie. (For a brief description of eachl see Noiice Required by 11 U.S.C. § 342(b) for individuals Filing for Barikruptcy
Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under

- Chapter 7

l:i Chapter 11

i:.l Chapter 12

lIi chapter 13

8. How you will pay the fee l l will pay the entire fee when | file my petition. P|ease check with the clerk's office in your local court for more details
about how you may pay. Typically. if you are paying the fee yourself, you may pay with cash. cashier‘s check, or money
order. |f your attorney is submitting your payment on your beha|f, your attorney may pay with a credit card or check with
a pre-printed address

i:| | need to pay the fee in installments |f you choose this option, sign and attach the Application for individuals to F’ay
The Fiiing Fee in installments (Official Form 103A).

|:| | request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% ofthe official poverty line that
applies to your family size and you are unable to pay the fee in installments). if you choose this optionl you must hit out
the Appir`cati'on to Have the Chapter 7 Fi'ilng Fee Waived (Officia[ Form 103B) and file ii with your petition.

9. Have you filed for l No_

bankruptcy within the
last 8 years? L__i Yes.
District When Case number
District When Case number
District When Case number
10_ Are any bankruptcy l No
cases pending or being
filed by a spouse who is l:l Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
Disirict When Case number, if Known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your l No. Go to line 12.
residence?
\“_`| Yes_ Has your landlord obtained an eviction judgment against you?

|;| No. Go to line 12.

[j Yes. Fi|| out initial StatementAbout an Evi'cti`on Judgmeni Agal`nsi You (Form 101A} and file it as part of
this bankruptcy petition.

 

Official Form 101

Voluntary Petition for individuals Fi|ing for Bankruptcy page 3

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Report About Any Businesses You Own as a So|e Proprietor

 

12. Are you a sole proprietor

 

of any fu||- or part-time ij No. Go to Part 4.
business?
l Yes_ Name and location of business
A sole proprietorship is a
business you operate as See Attachmenf
an individual, and is not a Name of business` if any

separate legal entity such
as a corporation.
partnership, or LLC.

if you have more than one

sole proprietorship, use a ,
Separate sheet and attach Number. Street, City. State & Z|P Code

it to this petition. Check the appropriate box to describe your business:

 

 

|:| Health Care Business (as defined in 11 U.S.C. § 101(27A))
[:| Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
|:| Stockbroker (as defined in 11 U.S.C. § 101(53A))
ij Commodiiy Broker (as dehned in 11 U.S.C. § 101(6))
|:| None of the above
13. Are you filing under if you are iili'ng under Chapter 11. the court must know whether you are a small business debtor so that il can sela,opropriate
Chapter 11 of the deadlines if you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
Bankruptcy Code and are operations, cash-flow statement and federal income tax return or if any ofthese documents do not existl follow the procedure
you asmaii business in 11 U.S.C. 1116(1)(B).
debtor?
l No l am not filing under Chapter 11.
For a definition of small `
busmess debtor‘ See 11 |:| ND_ | am filing under Chapter11. but l am NOT a small business debtor according to the definition in the Bankruptcy
U.S.C. § 101(51D). Code
[:| Ye_e,l l arn filing under Chapter 11 and l am a small business debtor according to the definition in the Bankruptcy Code.

 

Report if You Own or Have Any Hazardous Property or Any Properi:y That Needs immediate Attention

 

14. Do you own or have any I No'
property that poses or is
alleged to pose a threat l:i Yes_
of imminent and What is the hazard?

 

identifiable hazard to

public health or safety?

Or do you own any _ v _ _
property that needs if immediate attention is
immediate attention? needed\ Why i5 ii needed?

 

For exampleJ do you own

perishable goods, or

livestock that must be fed. Where is the property?
or a building that needs

urgent repairs?

 

Number, Streeil City, State 81 Zip Code

 

Officiai Form 101 Voluntary Petition for individuals Fiiing for Bankruptcy page 4

Debtor 1 Cgar e§ :|2`:§/1|§%§;?|

G-SDB DOC#ZJ_ Filed:O?/OZ/J_S Entered:O?/QaZ!eJ_r§Jn§ibBA¢iZSG PaQeZB Oi 59

Exp|ain Your Effori'.s to Receive a Briefing About Credit Counseling

€i' (ifl¢riown)

 

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy
You must truthfully check
one ofthe following
choices. |fyou cannot do
so, you are not eligible to
file_

if you hle anyway. the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

AboutDebtor1:
You must check one:

l received a briefing from an approved credit |:|
counseling agency within the 180 days before l

filed this bankruptcy petitionl and | received a

certificate of completion.

Atiach a copy of the certificate and the payment
pian, ifany, that you developed with the agency.

l received a briefing from an approved credit ij
counseling agency within the 180 days before l

filed this bankruptcy petition, but| do not have

a certificate of completion.

Within 14 days after you file this bankruptcy
petitionl you MUST file a copy of the certificate and
payment plan, if any.

i certify that i asked for credit counseling l:i
services from an approved agency, but was

unable to obtain those services during the 7

days after l made my requestl and exigent
circumstances merit a 311-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made io obtain the briefing. why
you were unable to obtain ii before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you hied for bankruptcy.

ll the court is satished with your reasons, you must
still receive a briehng within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. |f you do not do sol your case
may be dismissed

Any extension of the 130-day deadline is granted

only for cause and is limited to a maximum of 15

days.

l am not required to receive a briefing about i:i
credit counseling because of:

|:l lncapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances

[:] Disabiiity.
lilly physical disability causes me to be
unable to participate in a briefing in person.
by phone. or through the internall even after l
reasonably tried to do so.

|:l Active duty.
l am currently on active military duty in a
military combat zone.

|f you believe you are not required to receive a
briehng about credit counseling. you must file a
motion for waiver credit counseling with the court.

About Debtor 2 (Spouse Oniy in a Joint Case]:
You must check one:

l received a briefing from an approved credit
counseling agency within the 180 days before lfiled
this bankruptcy petition, and i received a certificate of
corn pletion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

l received a briefing from an approved credit
counseling agency within the 180 days before l filed
this bankruptcy petition, but l do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy ofthe certificate and payment planl if
any.

l certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after l made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement

To ask for a 30-ciay temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
lo obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
H|ed for bankruptcy.

if the court is satisfied with your reasons. you must still
receive a briefing within 30 days after you fi|e. You must
tile a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. if you do
not do so. your case may be dismissed

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

| arn not required to receive a briefing about credit
counseling because of:

|:| lncapacity.
l have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about iinances.

|;| Disabiiiry.
lilly physical disability causes me to be unable to
participate in a briefing iri person, by phone. or
through the internall even alieri reasonably tried to
do so.

E| Active duty.
l am currently on active military duty iri a military
combat zone_

if you believe you are not required to receive a briefing
about credit counseling you must his a motion for waiver
of credit counseling with the court.

 

thci`al Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 5

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Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Corlsumer debts are defined in 11 U.S.C. § 101(8) as "l`ncurred by an
individual primarily for a personall familyl or household purpose."

- No. co to lino too

l:l Yes. Go to line 17.

16b. Are your debts primarily business debts? Busr'rless debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

l:l No. Goto line 16c.
- Yes. Go to line 17.

 

 

 

 

160. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under |:l No. l am not filing under Chapter 7. Go to line 18.
Chapter 7?
Do you estimate that l Yes | am filing under Chapter 7. Do you estimate that alter any exempt property is excluded and administrative expenses
after any exempt ` are paid that funds will be available to distribute to unsecured creditors?
property is excluded and
administrative expenses - No
are paid that funds will
be available for l:i Yes
distribution to unsecured
creditors?
13- HC»W many Credit°r$ do l 1-49 lZl 1,000-5.000 |I| 25.001-50,000
§;‘;§St'ma"etha* Y°“ g 50_99 lIl 5001-10,000 lZl 50.001-100,000
' g 100_199 El 10,001-25,000 lZl lvlore thanioo,ooo
E 200-999
19- HOW much do you lIl so - sso,ooo lZl st.ooo.oot - stc million |Il $500,000,001 ~ s1 billion

estimate your assets to
be worth?

lI| 350.001 - $100.000
|Zl $100,001 - $500,000

l $500,001 - $1 million

lZl sto.ooo.oot - 550 million
|Il $50.000.001 - sine million
lIl $100,000,001 - $500 million

i:i $1,000,000,001 - $10 billion
i:i $10,000,000,001 - 550 billion
i:i More than 550 billion

 

20. How much do you
estimate your liabilities
to be?

l:| so - $50.000

l:l $50.001-$100.000
l:l stoo.oot - ssoo.ooo
l:l $500,001- s1 million

l s1,000,001 - sic million

lIl $10,000,001 - 350 million
lZ| 550,000,001 - stop million
lIl stoo.ooo,oot - ssoo million

i:i $500.000,001 - $1 billion

i:i $1,000,000,001 ~ $'il] billion
Ei 310,000,000,001 - $50 billion
l:| Nlore than $50 billion

 

Part 7: Sign Be[ow

 

Foryou

l have examined this petitionl and l declare under penalty of perjury that the information provided is true and correct

|fl have chosen to tile under Chapter ?, l am aware that l may proceed, if eligib|e, under Chapter 7, 11,12, or 13 oftit|e 11.
United States Code. | understand the relief available under each chapterl and l choose to proceed under Chapter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out this
document. l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code. specified in this petition.

l understand making a false statement concealing propertyl or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to 5250,000l or imprisonment for up to 20 years. or both. 18 U.S.C. §§ 152, 1341, 1519.
and 35?1;

Charles Kevin Deal \"
Signature of Debtor1

Executed on OTI/Z /;I'_'O ig

NlNl lDU/YYYY

Signature of Debtor 2

Executed on

 

lVlNl/DD lYY`\’Y

 

Oflicial Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 6

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Debtor 'i a e' 'n [ 36 i`lLil`ii Ei" (ifilnown,l

 

 

For your attorney, if you are i. the attorney for the debtor(s) named in this petitionl declare that l have informed the debtor(s) about eligibility to proceed

represented by one under Chapter 7 11 12 or 13 oftitle 11, United States Code and have explained the relief available under each chapter
forwhich the person is eligible l also certify that | hav delivered to the debtor(s) the notice required by 11 U S. C. § 342(b)

hat | have no knowledge after an inquiry that the information ln the

Date 7 /)‘//>>
W`rroii:;fo)oomr Mlvl r/DD flrth

H. Lehman Fra rn, Jr. 273400

Printed name

H. Lehman Frankiin, P.C.

Firrn name

P.O. Box 1064

Statesboro, GA 30459
|'llumber, Street. Ciiy_ State & ZlP Code

lf you are not represented by
an attorney. you do not need
to file this page.

  

 

consol phone 912i764-961E Ernail address hifpcbankruptcy@hotmaii.com
273400 GA

Bar number & State

 

 

Oflicial Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 7

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EV [i'i own

 

 

 

Fiii in this information to identify your case:

 

 

Debtor 1 Charles Kevin Deal

First Name Middle Name Last Name
Debtor 2
(Spouse if, niing} i'-'irst Name er.idle Name Last Name

United States Bankruptcy Court for the: SOUTHERN D|STRICT OF GEORGiA

 

Case number
(.llmown) |:| Check if this is an

amended filing

 

 

FORN[ 101. VOLUNTARY PET|T|ON A'l'l'ACHlVlENT

Additionai Sole Proprietorship(s)

 

Cross Creek Farms
Name of business, if any

 

Numberl Street, City, State & ZlP Code

Check the appropriate box to describe your business:

l:l l-leaith Care Business (as defined in 11 U.S.C. § 101 (27A))
Sing|e Asset Reai Estate (as defined in 11 U.S.C. § 101 (51 B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

Il__.ll:l|:l

None of the above

 

Kevin Deal Farms
Name of business, if any

 

Number, Street, City, State & Z|P Code

Check the appropriate box to describe your business:

l:l i-ieaith Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as denned in 11 U.S.C. § 101 (51 B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

Il:ll:l|j

None of the above

 

Ofnciai Form 101 Voluntary Petition for individuals Filing for Bankruptcy

page 8

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United States Bankruptcy Court

Southern District of Georgia

In re Charies Kevin Deal Case No.

 

Debtor(s) Chapter 7

DISCLOSURE OF COMPENSATION OF ATTORNEY F()R DEBT()R(S)

l. Pursuant to l l U .S.C. § 329(3) and ch. Bankr. P. 2016(b)__ l certify that l am thc attorney for thc above named dcbtor(s) and that
compensation paid to mc within one year before the filing ofthe petition in bankruptcy or agreed to bc paid to mc, f`or services rendered or to
be rendered on bchalf`ot'the debtol'(S) in contemplation ofor in connection with the bankruptcy case is as follo\vs:

For legal SEWi¢€S» l have agreed to accept $ 4,000-00 (Or Other
amounts as may be
approved by the

 

Courtj
Prior to the filing of this statement l have received ________ 5 4,000.00
Balance Duc 5 0.00

 

2_ The source of the compensation paid to me was:
iii Debtor i:i Oiher (spccify):

3_ The source of compensation to be paid lo me is:
ill Debtor |:I Othcr (spccil`y):

4. Ej l have not agrccd to share the above-disclosed compensation with any Othcr person unless they arc members and associates of my law linn.

l:l l have agreed to Sharc thc above-disclosed compensation with a person or persons who are not members or associates ol`my law 'iirm. A
copy ofthe agreement, together with a list ofthe names ofthe people sharing in thc compensation is attached.

3. in return for the above-disclosed fce, l have agreed to render legal service l`or all aspects ol` the bankruptcy casc_. including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to tile a petition in bankruptcy;

Prcparation and filing of` any petition, schedulcs_. statement of affairs and plan which may be required;

chrcsentation of the debtor at the meeting of creditors and confirmation hearing. and any adjourned hearings thereof;

[Othcr provisions as ncedecl]
Negotiations with secured creditors to reduce to market value; exemption pianning; preparation and filing of
reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
522(f')(2)(A) for avoidance of liens on household goods.

F-."‘_U'?’

6. By agreement with the debtol'(s), the above-disclosed l"cc does not include thc following Scrvicc:
Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
any other adversary proceeding

      
 

 

CERT[FICAT[ON

l certify that thc foregoing is a complete statement,ofany agreement or arran cmcnt l"or pay ofthe debtor(s) in

this bankruptcy proceeding

7/)~//§> .

nnie/ / ' . an ankli‘n’, JE 213400
gncrl'm‘ Arrol‘ney
H man Franklin, P.C.

P.O. Box 1064

Statesboro, GA 30459
9121764-9616 Fax: 91 21764-8789
hlfpcbankruptcy@hotmai|.com
l\lcrrile of l'mv_fr`rrn

 

 

 

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' 1:36 Page:lO of 59

  

Debtorl Charles Kevin Deal
First Name Midd|e Name Last Name

 

Debtor 2
(Spouse if. titlan First Name Micidte Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN D|STR|CT OF GEORGlA

 

Case number
(irknown) |j Check ifthis is an

amended ming

 

 

Officia| Form 1068um

Summary of Your Assets and Liabilities and Certain Statistical information 12r15

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. |f you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

Summarize Your Assets

Your assets
Va|ue of what you own

1. Schedu|e A!B: Properl:y (Ofncial Form tClGA/B)

ta. Copy line 55. Total real estate, from Schedufe AIB ................................................................................................ 5 555'052‘00
1b. Copy line 62, Tota| personal property. from Schedule AIB ..................................................................................... S 224,396_61
1c. Copy line 63. Total of all property on Schedu|e AIB ............................................................................................... 3 779,948_61

Summarize Your Liabilities

Your liabilities
Arnount you owe

2. Scheduie D.' Creditors Who Have Ciar`ms Secureol by Property (Ochial Form 106D)

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of ciaim, at the bottom ofthe last page of Part 1 of Schedule D... 5 3»330»559-38
3. Schedule E’F.' Creditors Who Have Unsecured' Ciaims (Offlcial Form 106E/F)
3a. Copy the total claims from Parl 1 (priority unsecured claims) from line 6a of Scheduie E/F 5 151798-40
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line Sj of Schedule E/F ............................ 3 630,067_73
Yourtota| liabilities 5 3,976,426_01
Summarize Your income and Expenses
4. Scheclule l.' Yourlncome (Ofiicial Form 106|)
Copy your combined monthly income from line 12 of Scheclule! ................................................................................ 5 2#000'00
5. Schedule J: YourExpenses (Officia| Form 106J)
Copy your monthly expenses from line 22c of Schedule J 3 11843'70

Answer These Questions for Administrative and Statistica| Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
[:| No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

l Yes
7. What kind of debt do you have?

m Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal‘ family, or
household purpose." 11 U.S.C. § 101{8). Fi|| out lines B-Bg for statistical purposes 28 U.S.C. § 159.

- Your debts are not primarily consumer debts. You have nothing lo report on this part of the form. Check this box and submit this form to
the court with your other schedules

Oflicial Form 10§Sum Summary of Vour Assets and Liabilities and Certain Statistica| lnformation page 1 of 2

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Debtorqa%eq:aJHSE-SG'QE%K`(S[S§[|)B DOC#ZJ_ Flled:O?/OZ/J_S Entected:O?{)(ngAf'lkS 1§:44:36 Page:ll Oi 59

a aSE l`ll.llTl

 

8. From the Statement of Your Currem‘ Mont‘hl'y inoome: Copy your total current monthly income from Ofiicial Form

122A~1 Line 11; OR, Form 1225 Line 11; OR, Form 1220-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedr.rle E/F:

HUWl".l

 

 

 

 

 

 

 

 

Total claim

From Part4 on Scheduie E/Fl copy the following:

9a. Domestic support obligations (Copy line 6a.) 3 O_OD

9b. Taxes and certain other debts you owe the government. (Copy line Eb.) $ 15,798_40

96. Ciaims for death or personal injury while you were intoxicated (Copy line 6c.) $ 0_00

9d. Student loans. (Copy line Sf.) $ 0_00

Be. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line Sg.) 0'00

9f. Deth to pension or proEt-sharing plans. and other similar debts. (Copy line Gh.) +$ 0_00

Sg. Total. Add lines 93 through 9f. $ 15,798.40
Ofncial Form 10BSum Summary of Your Assets and l_iabilities and Certain Statistical lnformation

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page 2 of 2

Best Case Bankruplcy

'11:36 Page:lZ of 59

  

Fil| in this information to identify your case and this filing:

Debtor1 Charles Kevin Deal
First Name Middle Name test Name

 

Debtor 2
(Spouse. if hirng} First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF GEORG|A

 

Case number l:l Check if this is an
amended filing

 

Official Form 106A/B
Schedule AIB: Property ms

ln each category, separately list and describe items. List an asset only once. lf an asset fits ln more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lt more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known].
Answer every question.

 

Describe Each Residenee, Building, Land, or Other Real Estate You Own or Have an interest |n

 

1. Do you own or have any legal or equitable interest in any residence, building, |and, or similar property?

l:l No. Go to Part 2.
l Yes. Where is the property?

t.‘l What is the property? cheek all that apply
811 Kevin Deal Road

 

 

 

 

 

 

- Slngl€'famllii hO|TlE Do not deduct secured claims orexemptions. Pul
Street address, if availablel or other description Du lex or multi_unit buildin the amount of any secured claims orr Schedul'e D_'
l:l p g Creditors Who Have Claims Secured by Property.
n Conclominiurn or cooperative
I;l Manufaclured or mobile home
Current value of the Current value of the
StateSbOFO GA 30458-0000 |:} LF-'md entire property? portion you own?
city state ziP code l:l investment property $197,320.00 $197,320.00
l:l T`meshare
m t Describe the nature of your ownership interest
Dther (such as fee simp|e, tenancy by the entireties, or
Who has an interest in the property? Cneck one a "fe estate)\ 'f known-
- Debtor1 only
BUllOCh l:l Debtor 2 only
County m
Debtor-1 and Debtorz only Check if this is community property
l:l At least one of the debtors and another isee instmctions)
Other information you wish to add about this ttem, such as local
property identihcation number:
1.19 acres and house
Official Form 106AIB Schedule AIB: Property page 1

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Debtorqa$%k£§é§%ZiQ-&BB DOC#ZJ_ Filed:O?/OZ/J_S Entered:O?/Q:§é1815244236 Page:l?> Of 59

 

lf you own or have more than one, list here:
1.2 What is the property? check all that apply

 

 

 

88 Harmony Church Rd m ging|e.¢ami|y home
Sireet address, ifavaiiabie, or other description |___l Dup|ex or multi_unit building
n Condominium or cooperative
I] Manufactured or mobile home
Statesboro GA 30458-0000 l La"d
City State ZlF' Code l:i investment property
g Tii'neshare
i:l Other
Who has an interest in the property? check one
- Debtor 1 only
Bl.lllOCh ij Debtor 2 only
C°u'“b' i:| Debtor1 and Debtor 2 only

m At least one of the debtors and another

e number (lfknowni

Do not deduct secured claims or exemptions Put
the amount of any secured claims orl Scheduie D:
Credi`iors Who Have Ciai`ms Secured by Property.

Current value of the Current value of the
entire property? portion you own?
$321,714.00 $321,714.00

 

Describe the nature of your ownership interest
(such as fee stmple, tenancy by the entireties, or
a life estate), if known.

 

m Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

225.78 acres - fann|and

 

if you own or have more than one, list here:

 

 

 

1.3 What is the propel`fy? Check ali that apply
Emit Grove Road I:[ Singie-famity home
Street address if avaitabie` or other description m Dupzex or mu!ti_unit building
m Condominium or cooperative
m Niat`\ufa€tui’ed Oi’ mobile home
scatesboro GA 30453-0000 l La“d
Cin State ZlP Code m lnvestmer|t property
I:i Nmeshare
i:l Other
Who has arl interest irl the property? Cnei;k one
- Debtor1 only
Bu|loch i:| Debtor 2 only
C°u'“!" g Debtor1 and Debtor 2 only

n At least one of the debtors and another

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scheduie D.'
Creditors Who Ha ve Ciaims Secured by Propen‘y.

Current value of the Current value of the
entire property? portion you own?
$36,018.00 $36,013.00

 

Describe the nature of your ownership interest
(such as fee simpie, tenancy by the entireties, or
a life estate), if known.

 

m Check if this is community property
(see instmctions)

Other information you wish to add about this item, such as local

property identification number:
15 acres - farmland

 

2. Add the doltar value of the portion you own for all of your entries from Part1, including any entries for

pages you have attached for Part1. Write that number here ......... ......

 

___=> $555,052.00

 

Describe Your vehicles

 

 

 

Do you own, iease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives. if you lease a vehicie, also report it on Scheduie G: Executory Con!racts and Urlex,oireo' Leases.

Ofiicial Form tOGA/B Schectule AIB: Property
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page 2
Best Case Bariitruptqr

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number rif known

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

I:l No

- Yes

3.1 Niake: ChBVI’OlEt Who has an interest in the property? Check one DO "°tdeduci Secured claims or exemptions Put

__dT_-__ the amount of any secured claims on Scheduie D.'

Mgdei; Sliverado l Debtor 1 only Credr'iors Who Have claims secured by Pmpeny_
years 3105_ n Debtor 2 °"|V Current value of the Current value of the
Approximate mileage: 250000 i:l Debtor 1 and Debtor 2 only entire property? portion you own?
Other informatiofli l:l At least one of the debtors and another

 

not running

m Check if this is community property $500-00 $500-00

[see instructionst

 

 

 

 

 

Do not deduct secured claims or exemptions Pot

- GMC ' ' ?
3'2 Make' _ _ Who has an '"terest m the property Check one the amount of any secured claims on Schedui'e D:
Mode|: S|grra 1500 l Debtor.l amy Crediiors Who Have Claiims Secnred by Propeity.
Year? 2014 i:i Debtor 2 only Current value of the Current value of the
Approximate mileage: 170000 i:i Debtor 1 and Debtor 2 only entire D"°¥JE\‘W? P°"fi°" Y°'~‘ °W"?
Other information: i:l At least one ofthe debtors and another

 

l:i Check if this is community property 517r950-00 $17»950-00

(see instn.lctions)

 

 

 

 

 

4_ Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Exampiies.' Boats, iraiiers, motors, personal watercraft, fishing vesseis, snowmobi|es, motorcycle accessories

- No
i:l Yes

 

5 Add the doitar value of the portion you own for all of your entries from Part 2, including any entries for

pages you have attached for Part 2. Writel that number here ............. ........=> $13'450-00

 

 

 

 

Describe Your Personal and Househo|d items
Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions
6. Household goods and furnishings
Examples.' Niajor appliances, furniture, iinens, china, kitchenware

I] No
- Yes. Describe .....

 

l Househo|d Furnishings $3,000.00

 

7. Eiectronics
Exarnpies: Televisions and radios; audio, video, stereo. and digital equipment computersl printers. scanners; music coitections; electronic devices

including cell phones, cameras, media piayers, games

|:i No
. Yes. Describe..__.

 

ijB" TV, DVD Piayer, Ceii phone l $500.00

 

8. Coiiectibies of value
Examples: Antiques and tigurines; paintings. prints, or other artwork; books, picturesl or other art objects; stamp. coin, or baseball card collections;

other collectionsl memorabi|ial coileciibies
- No
i:| Yes. Describe .....
Ofi`lcial Form 106AIB Scl'leduie AlEl: Property page 3
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Debtorq§a$§éfe|‘_|§é§g27_6- SBB DOC#21 Filed2 O7/O2/18 Eiitei’ed2 07/92 /18 44 36 w

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9. Equlpment for sports and hobbies
Examptes: Sports. photographic exercise. and other hobby equipment bicycles. pool tables. golf clubs. skis; canoes and kayaks; carpentry tools;
musical instruments
l No
l:l `i’es Describe...._

10. Firearms
Examples: Pisto|s, rifles. shotguns, ammunition, and related equipment

l:l No
- Yes. Describe .....

 

 

 

 

[.22 Remington rif|e; 12 gauge shotgun $225.00
11. Clothes
Examp!es: Everyday clothesl furs leather coats designer wear. shoes. accessories
l:l No
l ¥es. Describe .....
l clothing saoo.oo

 

 

12. Jewe|ry
Exampies: Everyday jewelry. costume jewelryl engagement rings wedding rings, heirloom jewelry, watchesl gemsl go|d. silver

l No
l:l Yes. Describe..__.

13. Non-farm animals
Examples' Dogs. cals. birds horses

- No
l:l Ves. Describe .....

14. Any other personal and household items you did not already list, including any health aids you did not list
- No
l:l Yes. Give specific information .....

15. Adc| the dollar value of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. Write that number here.. ....... $4'025‘00

 

Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

 

16. Cash
Exampies.' Money you have in your walletl in your home. in a sale deposit box` and on hand when you file your petition

|] No
- Yes ................................................................................................................

Cash $1,000.00

 

17. Deposits of money
Exarnpl'es.' Checl<ing, savings, or other linancial accounts; certincates of deposit shares in credit unions, brokerage houses and other similar

institutions lfyou have multiple accounts with the same institution. list each.

 

 

l:l No
- yes _______________________ institution name:
17.‘|. Checking Citizens Bank of the South $1,500.00
Official Form 106A/B Schedute A/B: Property page 4

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Debtor a m

harles Kevin Deal se num er (rrknown)

17.2_ Checking Bank of Newington $0.00

 

 

17.3. Checking Bank of Newington $0.00

 

 

18. Bonds, mutual funds, or publicly traded stocks
Exampies.‘ Bond fundsl investment accounts with brokerage firmsl money market accounts

l:]No

- Yes __________________ institution or issuer name:

5 shares of Bulloch Gin, lnc. Unknown

 

19. Non-public|y traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

l:lNo

- Yes. Give specitic information about them ...................
Name of entity: % of ownership:

John B Anderson Peanut & Grain Co., lnc. (owns

land, warehouse, fixtures and equipment located

at Nevils Daisy Rd, and 21 Nlartin Lanier Rd

valued at $1,518,530) - upon information and

belief, debt exceeds value 100 % $0~00

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiabie instruments include personal checksl cashiers' checks promissory noies. and money orders
Non-negoti'abie instruments are those you cannot transfer to someone by signing or delivering them.

. No
l:l Yes. Givespecitic information about them
issuer name:

21. Retirement or pension accounts
Examples: interests in lRA, ER|SA. Keogh. 401(|<), 403(b). thrift savings accountsl or other pension or profit-sharing plans
l:i No

l Ves. List each account separately

 

 

 

 

Type of account: institution name:

lRA iliierri|| Lynch $103,805.00
lRA Merrii| Lynch $74,819.99
lRA Stife|, Nicoiaus & Company, lnc. .$13,296.62

 

 

22. Security deposits and prepayments
tour share of all unused deposits you have made so that you may continue service or use from a company
Exampies: Agreements with landlords prepaid rent, public utilities (e|ectric. gas. water). telecommunications companies or others
l No

l:l Yes. institution name or individua|:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
l No
|:[ Yes_____________ issuer name and description

24. tnterests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C_ §§ 530(b)(t), 529A(b), and 529(b)(1).

-No

Official Form tOEiA/B Schedule AIB: Property page 5

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Debtorq§a$§%r€?és€§276- BBB DOC#21 Fiied207/O2/18 Entered207/Q2/18m]b52442 6 Page2l7 Oi 59

evin ass nu er (irimown)

 

|:| Yes__m‘_"___~ institution name and description Separately die the records of any interests.tt U.S.C. § 521 (c):

25. Trusts, equitable or future interests in property tother than anything listed in line 1}, and rights or powers exercisable for your benefit
i:i No

- Yes. Give specific information about them...

 

Potentiai interest in trust created by father's will (distrii:iution of
trust assets controlled by Debtor's mother and to be distributed on
her death as directed in her wili) $0-00

 

 

 

Right of first refusal concerning the sale of 258 acres (currently
held in trust) $0.00

 

 

 

 

26. Pateni:s, copyrights1 trademarks, trade secrets, and other intellectual property
Exarnples: internal domain names websites. proceeds from royalties and licensing agreements

- No
i:i Yes. Give speciiic information about them...

27. Licenses, franchises, and other general intangibles
Exampies: Building permils, exclusive licenses cooperative association holdings liquor licenses professional licenses

-No

i:i Yes. Give specific information about them...

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you
i:i No

- Yes. Give specific information about them. including whether you already filed the returns and the tax years .......

 

possible 2016-2017 refunds (expect it to
be taken by iRS) Federal and State Unknown

 

 

 

 

29. Family support
Exampies: Pasl due or lump sum alimony, spousal supporl. child support. maintenance divorce settlementl properly settlement

- No
i:i Yes. Give specinc information ......

30. Other amounts someone owes you
Exampies: Unpaid wages, disability insurance payments disability benefits sick pay, vacation pay, workers' compensation. Sociai Security
benetiis; unpaid loans you made to someone else

i:i No
- Yes. Give specihc iniormaiion..

 

Funds owed by John B Anderson Peanut & Grain Co., lnc.
($655,000 - unlikely to be collectable) $0.00

 

 

 

 

31. interests in insurance policies
Exampies: Heaith. disability. or life insurance; health savings account (HSA); creditl homeowners or renter's insurance

i:iNo

l Yes. Name the insurance company of each policy and list its value.

 

 

Company name: Beneficiary: Surrender or refund
value;
Life insurance - New York Life $0.00
Official Form 106AiB Schedu|e AiB: Property page 6

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Debtorq;a$g 18- 60276- SD|B DOC#21 Filed2 07/02/18 Entered2 07/02/18 152 442 36 Page218 Of 59

harles Kevin Deal Case number (i'i'knawn)

32. Any interest in property that is due you from someone who has died
lf you are the beneficiary of a living trust, expect proceeds from a life insurance policy. or are currently entitled to receive property because
someone has died.

lNo

l:l Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Exampi'es: Accidents. employment disputes, insurance claims, or rights to sue

El No
- Yes. Describe each claim.........

 

Potential claim against CNH industrial Capital due to alleged
improper repossession and sale of equipment U"kn°W"

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
l No
l:l Yes. Describe each claim .........

35. Any financial assets you did not already list
- No
|:l Yes. Give specific information..

 

36. Adcl the dollar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that number here ...... ..... $194»421-61

 

 

 

 

Describe Any Business-Re|ated Property You Own or Have ari lnterest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-retated property?
. No. soto Part 6.
|:l ves. co to line 3a

Part 6: Describe Any Farm- and Commercia| Fishing-Related Property ¥ou Own or Have an lnterest ln.
lf you own or have an interest in farmlandl list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
i:i No. Go to Part 7.

l res co to iine 47.

Current value of the
portion you own?

Do not deduct secured
claims or exemptions

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

- No
L_.l ¥es ................

48. Crops-either growing or harvested
. No

l:l Yes. Give specihc information .....

49. Farm and fishing equipmentl implementsl machinery, fixtures, and tools of trade

 

 

 

I:l No
- Yes ................
LS peanut trailers $8,000.00
Official Form 106AIB Schedute AIB: Property page 7

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Debtorq§as§hal§e§%`ZQ-DSEQB Doc#:l Filed: 07/02/18 Entered: O7/Qg5/é]h§n;lb§|;4rf¢in§W§) Page:lQ of 59

 

50. Farm and fishing supplies, chemica|s, and feed
l No
l:l Yes................

51. Any farm- and commercial fishing-related property you did not already list
l No
l:l Yes. Give specific information.....

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

52. Add the dollar value of all of your entries frorn Part G, including any entries for pages you have attached
for Part 6. Write that number here .............. ............. ... $8'000'00
Describe Aii Property You own or Have an interest in That You bid riot i.isi Abon
53. Do you have other property of any kind you did not already iist?
Examp!es.' Season tickets, country club membership
l No
|:l Yes. Give specific information .........
54. Add the dollar value of alt of your entries from Part 7. Write that number here $0_00
List the Tota|s of Each Part of this Form
55. Part‘l: Total real estate, line 2 ........... $555,052_00
56. Part 2: Total vehicles, line 5 $‘18,450.00
57. Part 3: Total personal and household items. line 15 $4,025_00
58. Part 4: Total financial assets, line 36 $194,421_61
59. Part 5: Total business-related property, line 45 $0_00
60. Part 61 Total farm- and fishing-related property. line 52 $8,000_00
61. Part ?: Total other property not listed, line 54 + $0_00
62. Total personal property. Add lines 56 through 61 $224,396_61 Copy personal property total $224'895_61
63. Total of all property on Schedute AIB. Add line 55 + line 62 $179,943_61
Ofncia| Form 106AIB Schedu|e AIB: Property page 8

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Besl Case Bankruptcy

.. e_. , - ' - - a ':36 Page:200f59

Fi|l in this information to identify your case:

  

Debtori Char|es Kevin Deal
First Name Midd|e Name Last Name

Debtor 2
(Spouse ii. Hling) First Name Midd|e Name Lasl Name

 

United Stales Bankruptcy Court for the¢ SOUTHERN DISTR|CT OF GEORG|A

Case number
(lrknewn) |:| Checl< ifthis is an

amended filing

 

 

Official Form 1060
Schedule C: The Property You Claim as Exempt line

Be as complete and accurate as possible if two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Oft“icial Form 106AIB) as your source, list the property that you claim as exempt |f more space is
needed, litl out and attach to this page as many copies of Part 2: Additionai' Page as necessary On the top of any additional pages. write your name and

case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However1 if you claim an exemption of ‘lOD% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount

identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one oniy, even if your spouse is filing with you.
l You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
ij You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedul'e A/B that you claim as exempt, fill in the information below.

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Speclfic laws that allow exemption '
Sr:hedule A/B that lists this property portion you own
Copy the value from Check only one box for each e)reirri,i)i‘il:inA
Scl'iedul'e A/B
2005 chevrolet sliverede 250000 $500_00 - $500_0{, o.c.s.A. § 44-13-100ial(6)
miles m '“___
not running m 100% of fair market value, up to
Line from Schedule A/B: 3.1 any applicable statutory limit
2014 civic sierra 1500 170000 miles $.,7 950_00 - $5’000_00 o.c.G.A. § 44-13-100(a)13i

Line from Schedule A/B? 3.2
ij 100% of fair market value, up to
any applicable statutory limit

 

2014 civic sierra 1500 170000 miles $1-, 950_00 l $3'025_19 O.C-G-A. § 44-13-100(3)(6)

Line from Schedule A/B: 3.2
ij 100% of fair market value, up to
any applicable statutory limit

 

Household Furnishings $3|000_00 . $3’000_00 O.C.G.A. § 44-13-100(a)(4)
Line from Scheduie A/B: 6.1 _ __
|:i 100% of fair market value, up to
any applicable statutory limit

 

48" TV, DVD Piayer, Ce|| phone $500_00 - $500'00 O.C.G.A. § 44-13-100(a)(4)
Line from Scheduie A/B: 7.‘l __ m
m 100% of fair market value, up to
any applicable statutory limit

 

Official Form 106C Schedu|e C: The Property You Claim as Exempt page 1 of2
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Debtor ‘IC

ase numbe

 

Brief description of the property and line on
Scheduie A/B that lists this property

Current value of the
portion you own

Copy the value from

Amount of the exemption you claim

Checir only one box for each exemption

§:riie§-}§ggrj§é§oe Doc#:l i=lied:o?/oz/ls Eniered:g?/oz/lrs|_fnsw:¢€l)¢l:se Page:zl 0159

 

Specif“ic laws that allow exemption

 

 

 

 

 

 

Scheo'uie A/B
.22 Remington rifie; 12 gauge $225_00 . $225_00 O-C-G-A- § 44'13“100iaii5)
shotgun
Line from Schedule A/B: 10.1 n 100% of fair market value, up to
any applicable statutory limit
Q|othing $300_00 l $300_00 O.C.G.A. § 44-13-100(a)(4)
Line from Schedul'e A/B: 11.1
i:| 100% or fair market valuel up lo
any applicable statutory limit
C-a$h $1!000_00 - $1]000_00 O....CGA § 44-13-100(3)(6)
Line from Schedule A/B: 16.1
i:i 100% of fair market value, up to
any applicable statutory limit
Checking: Citizens Bank of the South $1 500_00 - $1 449_31 O.C.G.A. § 44-13-100(a)(6)
Line from Schedule A/B: 17.1 ' ’
U 100% of fair market value. up in
any applicable statutory limit
'RA= Me"i" '~V"°h $103,805.00 l $103,305.00 O-C-G-A- § 44‘13'1°°lali2llFi
Line from Schedule A/B: 21.1 _
iii 100% er fair market value up le
any applicable statutory limit
lRA: Merril| Lynch $74,819_99 - $741319_99 O.C.G.A. § 44-13-100(a)(2)(F}
Line from Schedule A/B: 21.2 _
i:i 100% of fair market value. up to
any applicable statutory limit
lRA: Stifel, Nicolaus 81 Company, lnc. 513 296_52 - $13 296_62 O.C.G.A. § 44-13-100(a)(2)(F)
Line from Schedule A/B: 21 .3 _'_ ’
iii 100% of fair market value up le

any applicable statutory limit

 

Ofncial Form 1060
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. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01!19 and every 3 years after that for cases filed on or after the date of adiustment.)

|:i Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

l No
l:i Nc
i:i ¥es

Scheduie C: The Property You Claim as Exempt

page 2 of2

Best Case Bankruptcy

'11:36 Page:22 of 59

  

Fill in this information to identify your case:
Debtor1 Charles Kevin Deal

First Name Middle Name Last Name

Debtor 2
(Spouse ifr Hling)

 

First Name Middle Name Last Name

SOUTHERN DiSTR|CT OF GEORGIA

United States Bankruptcy Court for the:

 

Case number
(ifknown]

 

|:| Check if this is an
amended filing

 

Ochiai Form 106D

Schedule D: Creditors Who Have Claims Secured by Property 12115

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct information. if more space
is needed, copy the Additionai Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known}.

1. Do any creditors have claims secured by your property?
i:i No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.

- Yes. Fill in all of the information below.
List Aii secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. . . , . t l A
2. List all secured claims. |f a creditor has more than orie secured claim, list the creditor separately Co mm Column 8 Column C
for each claim. |f more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Va|ue of collateral Unsecured
much as possible list the claims in alphabetical order according to the creditor's name Do not deduct the that supports this portion
value of coilaterai. claim if any
2.1 Bank of America Describe the Property that Secures the C|alm= $4,924.8‘1 $17,950.00 $0.00
C'ed“°'“$ Name 2014 GMC Sierra 1500 170000 miles
P'O' Box 55224 As of the date you file, the claim is: check ali inst
Jacksonvl|ie, FL apply
32232“5224 i:i Contingent
Number. Slreet. City, State 8 Zip Code i:| Un|iquidated
i:i Disputed
Who owes the debt? Check oneA Nature of lien. Check all that apply.
l Debtor1 only l An agreementyou made (such as mortgage or secured
i:i Debtor 2 only car '°a")
i:i Debtor1 and Debtor 2 only ij Slalutory lien (su<:h as tax lien, mechanics |ien)
i:i At least one of the debtors and another i:i Judgment lien from a lawsuit
i__.i Check if this claim relates to a i:i Other (inc|uding a right to offset)
community debt
Date debt was incurred Last 4 digits of account number 9356
2.2 Bank of Dudley Describe the properly that secures the claim: $260,000.00 $1,51 8,530.00 $260.000.00
C'ed“°"$ Name 2nd lien on Real Estate, Fixtures,
and Equipment owned by John B
Anderson Peanut & Grain Co.
As ofthe date ou l'|el the cla'm 's: ch ir ii ih
P.o. sex 4098 app,y y ' ' ' E° a *“
Dubill"l, GA 31040 i:i Conlingenl
Number, sireei cliy, scale a zip code l:l unliquidated
[:i Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
m Debtor 1 On|l‘ - An agreement you made (such as mortgage or secured
i:i Debtor 2 only car loan)
i:i Debtor1 and Debtor 2 only i:i Statulory lien (such as tax lien, mechanics lien)
- Al least one ofthe debtors and another |:| Judgment lien from a lawsuit
i:i Check if this claim relates to a i:i Other (inc|ud`ing a right to offset}
community debt
Date debt was incurred Last 4 digits of account number
Ochiai Form lOED Scheduie D: Creditors Who Have Claims Secured by Property page 1 of4

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Best Case Hankruptcy

CaSe:lS-GOZ?€-SDB DOC#ZJ_ Filed:O?/OZ/J_S Entered207/02/1815244236 Page:23 Of 59

Debtor1 Charles Kevin Deal

Case number (ill<new)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Firsl Name Middle Name Last Name
2.3 Bank of Newington Describe the Property that SOCUVGS the Claim= $1,524,806.75 $1,518,530.00 $6,276.75
C’°d"°“ Name 'lst lien on Real Estate, Fixtures,
and Equipment owned by John B
Anderson Peanut & Grain Co
Asfthdt fl,h|":
P_O- Box 68 app; e a eyou le t ecalm rs Check all that
Newington, GA 30446 |:| Commgem
Number_ street clry. state a zip code |:l unliquidated
ij Disputed
Who owes the debt? Check one. Nature of |ien. Check all that i:-ipl:»tyA
g DEbf0F1 Dn|l' l An agreement you made (such as mortgage or secured
i:i Debtor2 only car loan)
i:| Debtor1 and Debtor 2 only i:l Statutory lien (such as tax |ien, mechanics |ien)
- At least one ot the debtors and another n Judgment neil from a lawsuit
l:i Check if this claim relates to a m Other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number 5004
2.4 Bank of Newington Describe the Property thafsecures the claim= $903,233.84 $555,052.00 $903,233.84
C"*d"°"§ Name 2nd lien on all real estate owned by
Debtor
A f h ` ' :
P.O. Box 68 a;`p|\; t e date you file, the claim ls Check allthaz
Newingtonl GA 30446 |:| Comingem
Number. Si;eel. cily, State a zip code l:l Unliquidated
l:l Disputed
Who owes the debt? Check one. Nature of |ien. Check all that apply.
\:i Debtor1 only i:i An agreement you made (such as mortgage or secured
i:i Debtor 2 only car ‘°an)
ij Debtor 1 and Debtor 2 only i:i Statutory lien (such as tax |ien| mechanics lien)
- At least one of the debtors and another - Judgment lien from a lawsuit
i:l Check it this claim relates to a i:| Other {including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number 7461
Bank of Newington Describe the property that seizures the claim: $400,000.00 $357,732.00 $42,268.00
Cred“°"$ Name 'lst lien on 240.78 acres (Harmony
Church Rd and Emit Grove Rd)
As of the date ou flie, the c|a'm 's: n ll
P.o. Box 68 app$,,_ Y ' ' ° E°*‘a ““‘
Newington, GA 30446 g Comingem
Numi)er. slreel, cicy. state a zip code |:| unliquidated
i:i Disputed
Who owes the debt? Check one. Nature of |ien. Check all that apply
l Debtor1 only - An agreement you made (such as mortgage or secured
i:l Debtor 2 only ear loan}
i:l Debtor1 and Debtor 2 only l:l Statutory lien (such as tax lienl mechanics lien)
ij At least One Olr the debtors and another g Judgment lien from a lawsuit
i:i Check if this claim relates to a ij Other (including a right to offset)
community debt
Date debt was incurred Last4 digits of account number 3159
Mayo Fertilizer, lnc. Describe the property that secures the clalm= $66,577.00 $0.00 sss,si'?.oo

Oflicial Form 1060

 

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

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page 2 of4

Best Case Banttruptcy

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Debtor1 Charles Kevin Deal

Case number (irl<now)

 

 

First Name Mlddle Name Last Name

 

Creditors Name

PO Box 357
l\l'layo, FL 32066

Number, Street` City, State & Zip Code

Who owes the debt? Check orle.

- Debtor 1 only

i:l Debtor 2 only

l:| Debtor 1 and Debtor2 only

n At least one of the debtors and another

El check ifthis claim relates to a
community debt

Date debt was incurred

 

Real!Personal Property

 

 

As ofthe date you tile, the claim is: check all that
apply

l:l Contingent

ij Unll'quldated

- Disputed

Nature of lien. Check all that app|y.

l:i An agreement you made (such as mortgage or secured
car loan)

i:l Statutory lien (such as tax lien. mechanic's lien)

l Judgment lien from a lawsuit
l:l Other (including a right to offset)

 

Last 4 digits of account number

 

 

Nationstar |lllortgage,

2.7 LLC

 

 

Describe the property that secures the claim: $171,017.48 $‘197,320.00 $U.UO

 

 

Creditor's Name

dba Mr. Cooper
P.O. Box 619094
Dallas, TX 75261-9741

Nurriber, Slreet, City, State & Zip Code

Who owes the debt? Check one.

- Debtor ‘l only

i:i Debtor 2 only

ij Debtor1 and Debtor2 only

i:i At least one of the debtors and another

i:l Check if this claim relates to a
community debt

Date debt was incurred

 

811 Kevin Deal Road Statesboro,
GA 30458 Bulloch County
1.19 acres and house

 

 

As of the date you file, the claim is: check all that
apply

n Contingent

El unliquidated

i:l Disputed

Nature of lien. Check all that apply.

- An agreement you made (such as mortgage or secured
car loan)

i:i Statutory lien (such as tax lien. mechanics lien)

i:i Judgment lien from a lawsuit

i:l Other tinc|uding a right to ol‘iset]

 

Last 4 digits of account number 6701

 

Add the dollar value of your entries in Column A on this page. Write that number here: $3,330,559_88
lf this ls the last page of your form, add the dollar value totals from all pages.
Write that number here: $3'330’559'88

 

 

 

 

 

List Others to Be Notitied for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part1. For exampfe, ita collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part t, and then list the collection agency here. Simi|ar|y, if you have more
than one creditor for any of the debts that you listed in Part 1l list the additional creditors here. if you do not have additional persons to be notified for any

debts irl Part 1, do not t`l|l out or submit this page_

|:|

Conner Law Group, PC
P.O. Box 10720
Savannah, GA 31412

Name. Number. street clry. slate s zip code on which line in Part 1 did you enter the creditor? 2.2

Last 4 digits of account number_

 

Name~ Number' S"ee‘- CEW' State 3‘ Zip Code On which line irl Part ‘l did you enterthe creditor? 2.5
Farmer Mac
1999 K Sft‘EEt, NW Last 4 digits of account number_

4th Floor
Washington, DC 20006

 

Official Form 1060 Additional Page of Schedu|e D: Creditors Who Have Claims Secured by Property page 3 ol`4

Sottware Copyrlght (:) 1996-2018 Best Case. LLC -www.beslcase.com Best Case Banltruptcy

CaSe:lS-GOZ?G-SDB DOC#ZJ_ FiledZO7/02/18

Debtor1 Char|es Kevin Deai

|:i

First Name Middle Name Last Name

Name, Number, Street, City, State & Zip Code
R. Kenny Stone, P.C.

P.O. Box 681

Statesboro, GA 30459

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Case number (irltnew)

 

On which line in Part 1 did you enter the creditor? 2.3

Last 4 digits of account number_

 

Namel niumberl Streetl Cit‘y, State & Zip Code

R. Lee Brown, Jr.

Moore, Clarke, DuVal| & Rodgers, P.C.
PO Drawer 71727

A|bany, GA 31708-1727

On which line in Part 1 did you enter the creditor? 2.5

Last 4 digits of account number_

 

Name, Number, Street, City, State & Zip Code
Sma|| Business Administration
233 Peachtree Street, NE

Suite 300

Atianta, GA 30303

On which line in Part 1 did you enter the creditor? 2.3

Last 4 digits of account number_

 

Name, lilumberl Street. City. State & Zip Code
US Attorney

P.O. Box 8970

Savannah, GA 31412

on which line in Part 1 did you enter the creditor? 2.3

Last 4 digits of account number_

 

Name, Number, Street. City. State & Zip Code
US Bank, NA

as Custodianrl`rustee for FAN|C
1133 Ran kin Street, Ste 100

Saint Pau|, MN 55115

On which line in Part1 did you enter the creditor? 2.5

Last 4 digits of account number _

 

Official Form 106D

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Additional Page of Schedu|e D: Creditors Who Have Claims Secured by Property

Best Case Bankruptcy

page 4 of` 4

' 1:36 Page:26 of 59

  

Fill in this information to identify your case:

Debtor1 Char|es Kevin Deal
Firsi Name Middle Name Last Name

 

Debtor 2
(Spouse if, lilmg) First Name Midd|e Name Last Name

 

United States Bankruplcy Court for the: SOUTHERN DiSTR|CT OF GEORG|A

 

Case number .
(irlmewn; |:| Check if this is an

amended filing

 

 

Otlicia| Form 106E!F
Schedule EIF: Creditors Who Have Unsecured Claims 12115

Be as complete and accurate as possib|e. Use Palt1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPRIOR|TY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. A|so list executory contracts on Scheclule Ale Property (Oflicial Form 1DSAIB) and on
Schedule G: Executory Contracts and unexpired Leases (leficial Form 1066). Do not include any creditors with partially secured claims that are listed in
Schedu|e D: Creditors Who Have Claims Secured by Property. lf more space is needed, copy the Fart you need, fill it out, number the entries in the boxes on the
ieft. Attach the Continuation Page to this page. lt you have no information to report in a Part, do not tile that Part. On the top of any additional pages, write your
name and case number (if known).

Part 1: List All of Your PR|ORITY Unsecured Claims
'l. Do any creditors have priority unsecured claims against you?
l:l No. Go to Part 2.

l Yes.

2. List ali of your priority unsecured claims. ita creditor has more than one priority unsecured claim, list the creditor separaleiy for each claim, For each claim listedl
identify what type of claim it is. if a claim has both priority and nonpriority amounls. list that claim here and show both priority and nonpriort`ty amounts As much as
possiblel list the claims in alphabetical order according to the creditor’s name. lt you have more than two priority unsecured c|aims, iill out the Contlnuaiion Page of
Part 1. if more than one creditor holds a particular ciaim, list the other creditors in Part 3.

(For an explanation of each type of claiml see the instructions for this form in the instruction bookiet.)

 

 

 

 

 

 

 

 

Total claim Priority Nonpriority
amount amount
Bulloch County Tax
2»1 Commissioner Last 4 digits of account number $2,337.40 $2,337.4[} $D.UD

Priority Creditor's Name
P.C. Box 245 When was the debt incurred?
Statesboro, GA 30459
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one. |:| Contingent

- Debtor1 only l:l Unliquidated

El Debtor 2 only l:l oieputed

|:\ Debtor1 and Debtor 2 only Type of PR|OR|TY unsecured claim:

l:l At ieast one of the debtors and another m D°mestlc Supp°"l °b"gatl°ns

l:l Check if this claim is for a community debt - Taxes and certain other debts you owe the government

ls the claim subject to otiset? l:l Claims for death or personal injury while you were intoxicated

- NO l:l Other. Specity

l:l Yes property taxes

Ofiicial Form 106 EfF Schedule ElF: Creditors Who Have Unsecured Claims Page 1 ofB

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qlaSe:lS-GOZ,?€-SDB DOC#:J_ Filed:O7/02/18 Entered:O?/OZ/J(815:44:36 Page:27 Of 59
Debtor Char|es Kevin Deal C

242 internal Revenue Service

 

Priority Creditor‘s Name
P.O. Box 7346
Phi|ade|phia, PA 1 9101-7346

 

Number Street City State Zip Code
Who incurred the debt? Check one.

- Debtor1 only
|`_`l Debtor 2 only
l:l Debtor t and Debtor 2 only

l:l At least one of the debtors and another

l:l Check if this claim is for a community debt

ls the claim subject to offset?

l No
l:l Yes

ase number ii know)

 

Last 4 digits of account number $12,911.00 $12,911.00 $0.00

 

When was the debt incurred?

As of the date you tiie, the claim is: Check all that appiy
l:l Contingent
l:l unliquidated

l:l Disputed
Type of PR|OR|TY unsecured claim:

l:l Domestic support obligations

- Taxes and certain other debts you owe the government
l:l Claims for death or personal injury while you were intoxicated

l:l Other. Specify

 

2015 taxes

 

List All of Your NoNPRioRlTY unsecured claims

3.

Do any creditors have nonpriority unsecured claims against you?

m NO. YOU have nothing 10 lEle'f ll'\ lhlS pa|'f. Smell this fOl’lTl 10 the COLll'f Wlll'l yOUl' Olhel’ SChEdUlSS.

l Yes,

List all ot your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lia creditor has more than one nonpriority
unsecured claim` list the creditor separately for each claim. For each claim listed, identify what type of claim il is. Do not list claims already included in Part 1_ lf more
than one creditor holds a particular claim, list the other creditors in Part 3.|f you have more than three nonpriority unsecured claims lil| out the Continuation Page of

Part 2.

American Express

Nonpriority Creditor‘s Name
PO Box 981535
E| Paso, TX 79998-1535

 

Number Street City State Zip Code
Who incurred the debt? Check one,

l:l Debtor1 only
l:l Debtor 2 only
l:l Debtor 1 and Debtor 2 only

- At least one of the debtors and another

l:l cheek it this claim is for a community

debt
ls the ctaim subject to offset?

- No
l:l Yes

Total claim

Last 4 digits of account number 2003 $6,7‘11.22

When was the debt incurred?

 

As of the date you fi|e, the claim is: Check all that apply

|:l contingent
El unliquidated

l:l Disputed
Type of NONPR|OR|TY unsecured claim:

l:l Student loans

l:l Obiigations arising out of a separation agreement or divorce that you did not
report as priority claims

l:l Debls to pension or pront-sharing plans, and other similar debts

l Other Specify Credit card

 

 

Official Form 106 Ei'F

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Schedule EIF: Creditors Who Have Unsecured Claims

Page 2 of 8

Best Case Banl<ruplcy

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Debtorq; Char|es Kevin Deal

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Case number (iiknow)

 

 

42 CNH industrial Capital

 

Nonpriority Creditor‘s Name
PO Box 71264

Philadelphia, PA 19176-6264
Number Street City State Zip Code

Who incurred the debt? Check one.

- Debtor 1 only

l.:l Debtor 2 only

l:l Debtor 1 and Debtor 2 only

l;l At least one of the debtors and another

|:l check ifthis claim is for a community
debt
ls the claim subject to offset?

Last 4 digits of account number

014 $3,174.29

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

l:l Contingent
|Il unliquidated

l:l Disputed
Type of NONPR|OR|TY unsecured claim:

l:l Student loans

n Obligations arising out oi a separation agreement or divorce that you did not
report as priority claims

 

 

 

 

 

 

 

 

 

 

 

 

. No l:l Debts to pension or profit-sharing plansl and other similar debts
l:l res l giher_ gpeciry lease termination fees

CNH industrial Capita[ Last 4 digits of account number 9031 $28,659.95
Nonpriority Creditor‘s Name
PO Box 71264 When was the debt incurred?
Philadelphia, PA 19176-6264
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
. Debtor1 only l:l Contingent
l:l Debtor 2 only l:l Unliquidated
l:l Debtor1 and Debtor 2 only l:l Disputed
El At leastone ofthe debtors and another Type °f NONPR'OR'TY unsecured claim
l:l Check if this claim is lora community m Stude"t loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- Ng l:l Deth to pension or prolit-sharing plans, and other similar debts
l_`.l Yes l Other_ gpecyy deficiency on 3230 Sprayer

4.4 CNH |ndustrja| Capita| Last4digits of account number 9035 $20,565.91
Nonpriority Creditor‘s Name
PO Box 11234 When was the debt incurred?
Philadelphia, PA 1 9176-6264
Number Street City State Zip Code As of the date you tile, the claim is: Check all that apply
Who incurred the debt? Check one.
. Debtor 1 only l:l Contingent
l:l Debtor 2 only l:l Un|iquidaled
l:l Debtor1 and Debtor 2 only El Disputed
l:l At least one of the debtors and another Type °f NONPR'OR'TY unsecured claim
El Check if this claim is for a community m St"'dem loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l Ng l:l Debts to pension or proht-sharlng plans, and other similar debts
l] Yes l Other_ Spe¢yy deficiency on planter

Ofiicial Form 106 Ei'F Schedule ElF: Creditors Who Have Unsecured Claims Page 3 of 8

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harles Kevin Deal ftl-lle 9 itknow
4.5 Farm Bureau Bank, FSB Last 4 digits of account number 2816 $3,517.68
Nonpriorlty Creditor‘s Name
PO Box 33427 When was the debt incurred?
San Antonio, TX 78265
Number Street City State le Code As of the date you file, the claim ls: Check all that apply
Who incurred the debt? Check one.
l Debtor 1 only l:l contingent
l:] Debtor 2 only ij Unliquidated
i:| Debtor 1 and Debtor 2 only l:l Disputed
\:i At least one of the debtors and another TVPE cr NONF'RiORiTY unsecured ciairrii
\:l Check ii this claim is for a community i:i Siuucr‘i loans
debt l:l Obligations arising out of a separation agreementh divorce that you did not
ls the claim subject to offset? report as priority claims
l ND ij Debts to pension or profit-sharing plansl and other similar debts
n YES - ther_ Specjfy Credit Card
4.6 Fu||er Supp|y Co lnc_ Last 4 digits of account number $528_21
Nonprlority Creditor‘s Name
PO Box 21 91 When was the debt incurred?
Birmingham, AL 35201
Number Slreet City State le Code As of the date you ti|e, the claim is: Check all that apply
Who incurred the debt? Check one.
l:l Debtor1 only l:l contingent
ij Debtor 2 univ |Il unliquidated
l:l Debtor1 and Debtor 2 only ij Disputed
- At least one of the debtors and another TYPE cr NONPRiORiW unsecured ciaimi
i:l Check if this claim is for a community m Siudem loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ts the claim subject to offset? report as priority claims
l No m Debts to pension or profit-sharing plans, and other similar debts
n Yes - Other‘ Specify SL|p|JiiES
4.7 Fu|[er Supp|y Cg |nc_ Last 4 digits of account number 6670 $333.58
Non priority Creditor‘s Name
PO Box 2191 When was the debt incurred?
Birmingham, AL 35201
Number Street City State le Code As of the date you hle, the claim is: Check ali that apply
Who incurred the debt? Check one,
- Debtor 1 only [__.l Contingent
\:i Debtor 2 only m Unliquldated
[:l center 1 and Debtor 2 only lIl Disputed
\:i At least one of the debtors and another Type cr NoNpRioRiw unsecured ciaimi
I:l Check if this claim is fora community i:i Siuueui maris
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No n Debts to pension or pmm-sharing plansl and other similar debts
E! Yes l other. option Supp|ies
Oft”lclai Form 106 EIF Schedule El'F: Creditors Who Have Unsecured Claims Page 4 of 8

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Debtorqlaéhe;l$-€OZ?G-SDB DOC#21 Fl|ed207/02/18 Enterec%gQZl/]Og/J_Sl 244236

Page:SO of 59

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

rles Kevin Deal m er (lr know

4-8 Logan Hagan Welding Supply, lnc. Last4digits of account number 2200 $40.00
Non priority Creditor‘s Name
P_O_ Box 1609 When was the debt incurred?
Statesboro, GA 30459
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l:l Debtor 1 only |:| Contingent
i:i Debtor 2 O"'v |Il unliquidated
l:l Debtor 1 and Debtor 2 only l:l Disputed
. At least one of the debtors and another Type °r NoNPR|ORiTY Unsecured Ciai""l
l:l Check if this claim is for a community ij Siuucni loans
debt |:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l Ng l:l Debts to pension or profit-sharing plans. and other similar debts
l:l Yes - Other_ Specify Ser\rice

4-9 Merritt Mechanicall'Fabrication, LLC Lan 4 digits Of accoqu number 5226,851.18
Nonpriority Creditor‘s Name
1270 GA Hwy 93 N When was the debt incurred?
Calro, GA 39827
Number Street City State le Code As of the date you tiie, the claim is: Check all that apply
Who incurred the debt? Check one
l:l Debtor l only l:l Contingent
l:l Debtor2 only l:l Un|iql.lidated
n Debtor 1 and Debtor 2 only l Disputed
l At least one of the debtors and another TYPc cr NONPRiORiTY unsecured ciain'i:
U Check if this claim is for a community ij Siuda"i loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority ciaims
l Ng l:l Debts to pension or pront-sharing plansl and other similar debts
i:i YES - Other. Specify SUPPiiES

4.1 .

o Nesmith Chevro|et Last 4 digits or account number 9713 $1,649.33
Nonpriority Creditor‘s Name
7334 US Hwy 280 W When was the debt incurred?
Claxton, GA 30417
Number Street City State le Code As of the date you fiie, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor 1 onty l:l Contingent
l:.l Debtor 2 only l;l Unliquidated
n Debtor 1 and Debtor 2 only l:l Disputed
l;l At least one of the debtors and another TYPE ur NONPRiORlTY unsccurcu claimi
l:l Check if this claim is for a community n Siudani loans
debt l:l Obligations arising out ofa separation agreement or divorce that you did not
ls the ciaim subject to offset? report as priority claims
l Ng l:l Debts to pension or profit-sharing plans. and other similar debts
lI| yes l other specify service

Otncial Form 106 El'F Schedule El'F: Creditors Who Have Unsecured Claims Page 5 of 8

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Best Case Bankruptcy

Debtorq§aért\§£l_§I.S-60276-SDB DOC#21 Filed207/02/18 Eiiterec('lri§(§/Og/r]z$l 244236

 

 

 

Page:Sl of 59

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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es Kevin Deal num e itlmow
4_1 . .
1 Trlang|e Chemlcal Co. Last 4 digits of account number $200,000.00
Nonpriorily Creditor‘s Name
117 Preston Court When was the debt incurred?
Macon, GA 31210
Number Street City State le Code As of the date you file, the claim is: Check atl that apply
Who incurred the debt? Check one
l:l Debtor1 only l:l Contingent
i:l Dcnicr 2 can l:l Unliquidated
|:l Debtor1 and Debtor 2 only jj Dispu,ed
- At least one of the debtors and another Tll'Pe °r NONPRiORiTY unsecured °icimi
El Check if this claim is fora community i':i Siunani loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No g Debts to pension or protit-sharing plans. and other similar debts
i:i Yes l other specify SL|PPti€S
4.1 . .
2 Trlarigle CherrllCBl CO. Last 4 digits of account number $50,000-00
Nonpri`ority Creditor‘s Name
111 Preston Court When was the debt incurred?
Macon, GA 31 210
Number Street City State le Code As of the date you ti|e, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only l:l Contingent
n Debtor 2 only l:l Unliquidated
l:l Debtor 1 and Debtor2 only l:l Disputed
l:l At least one of the debtors and another Type °r NONPRioRlTY unsecured clain"i
l:l Check if this claim is for a community l:l Siudcni loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No m Debts to pension or mont-sharing plans, and other similar debts
i:i Yes l other. specify S‘JPP|FES
4.1 .
3 UnlOli BanK Last 4 digits of account number 01 05 $71,330.83
Nonpriority Creditor‘s Name
Card Services Center When was the debt incurred?
P.O. Box 2988
Omaha, NE 68103-2988
Number Street City State le Code As of the date you fite, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor 1 only l:l Contingent
l:l Debtor 2 only l:l Unliquidated
l:l Debtor 1 and Debtor 2 only l:l Disputed
l:l At least one of the debtors and another TVPc cr NoNPRiORlTY unsecured cluun:
l:l Check ifthis claim is for a community n Sludarn loans
debt l:l Obligations arising outer a separation agreementor divorce that you did not
ls the claim subject to offset? report as priority claims
l No l:l Debts to pension or protit-sharing plans, and other similar debts
El Yes l other specify credit card - Everywhere Card
Official Form 106 El'F Schedule EIF: Creditors Who Have Unsecured Claims Page 6 of 8

Besl Case Bankruplcy

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Debtor1 Char|es Kevin Deal

 

 

 

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ase number (iflmow)

 

 

 

 

 

 

 

 

 

4 Wal-Mart Stores, lnc. Last 4 digits of account number 3120 $930.00
Nonpriority Creditor‘s Name
702 SW th Street When was the debt incurred?
Benton\ri||e, AR 72716
Number Street City State le Code As of the date you fi|e, the claim is: Check all that apply
Who incurred the debt? Check one.
l:l Debtor 1 only l:l Contingent
m Debtor 2 °"|V l:] Unliquidated
l:l Debtor t and Debtor 2 only |:| Disputed
l A\ least one of me debtors and amon-ley Type of NONPR|OR|TY unsecured clalm:
|Il cheek ifthis claim is rcra community m SfudE-'"' loans
debt [:l Obligations arising out ofa separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l NO |:l Debts to pension or profit-sharing plans. and other similar debts
f___l Yes - Other. Specify
4.1
5 WellS Fal’QO Last d digits of account number $15,275-55

 

 

Nonpriority Creditor‘s Name
P.O. Box 206731
Dallas, TX 75320-6740

 

Number Street City State Z|p Code
Who incurred the debt? Check orle.

l:l Debtor 1 only

l:l Debtor 2 only

E Debtor 1 and Debtor 2 only

- At least one of the debtors and another

l:l Check if this claim ls for a community
debt
ls the claim subject to offset?

- No
n Yes

When was the debt incurred?

 

As of the date you tilel the claim is: Check all that apply

l:l Contingent
E| unliquidated

El Disputed
Type of NONPRIOR|TY unsecured claim:

l:l Student loans

l:l Obligations arising out ofa separation agreementor divorce that you did not
report as priority claims

n Debts to pension or profit-sharing plansl and other similar debts

l Othe,_ Specyy deficiency on lawnmowers

 

 

List others to se Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor ln Parts 1 or 2, then list the collection agency here. Simi|arlyl if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. |f you do not have additional persons to he
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Addr&$$

A|ltran Financial LP
P.O. Box 722929
Houston, TX 77272-2929

on which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.1 of (chook onei-

l:l Part 1: Creditors with Priority Unsecured Claims
- Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address
Everywhere Card

PO Box 723847
At|anta, GA 31139-0847

Orl which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.13 of (Check one):

l:l Part 1: Creditors with Priority Unsecured Claims
- Part 2; Creditors with Nonpriority Unsecured Claims

LHSl. 4 digits Of account number

 

Name and Address

FMS, lnc.

P.O. Box 707600
Tu|sa, OK 74170-7600

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.14 of (Check one):

n Part1:Creditors with Priority Unsecured Claims
- Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

R. Bruce Warren

Whitehurst, B|ackburn & Warren
809 South Broad Street

Of‘licia| Form 106 E!F
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Schedule Ele Creditors Who Have Unsecured Claims

On which entry in Part 1 or Part 2 did you list the original creditor?
Line § of [Check orle).'

l:l Part 1: Creditors with Priority Unsecured Claims
- Part 2: Creditors with Nonpriority Unsecured Claims

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Best Case Bankruptcy

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Debtor1 Char|es Kevin Deal

Thomasvi||e, GA 31792

Last 4 digits of account number

Case number (iil<now)

 

 

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

Total
claims
from Part 1

Total
claims
from Part 2

Oflicia| Form 106 EfF

Sa.

6b.
Bc.

Be.

6f.

og.
sh.

Si.

ej.

Domestic support obligations

Taxes and certain other debts you owe the government
Claims for death or personal injury while you were intoxicated

Other. Add all other priority unsecured claims Write that amount here.

Total Friorlty. Add lines 6a through Gd.

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts

Other. Add all other nonpriority unsecured claims Write that amount
here.

Total Nonpriority. Add lines Sf through 6i.

Schedule ElF: Creditors Who Have Unsecured Claims

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Sa.

6b.
6c

Se.

6l'.

Gg,
6h2

Bi.

ai.

 

 

 

 

 

 

Total Claim
0.00
15.798.40
0.00
0.00
15,798.40
Total Claim
0.00
0.00
0.00
630,067.73
630,067.73

 

 

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Best Case Barlkruptcy

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Debtor 1 Char|es Kevin Deal
Hrst Name M:'ddle Name Last Name

Debtor 2
[Spouse lf, l'lling) Flrst Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DiSTR|CT OF GEORG|A

 

Case number
(irr<nown) |:| Check if this is an

amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possible lt two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, copy the additional page, till it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
l No. Check this box and me this form with the court with your other schedules You have nothing else to report on this form.
|:l Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (thcial Form 106 AIB).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
examp|e, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

Person or company with whom you have the contractor lease State what the contract or lease is for
Name, Number‘ Slreel. City. State and ZlP Code

2.1
Name

 

 

Number Street

 

City State ZlP Code
2.2
Name

 

 

Number Street

 

 

 

 

 

 

 

City State ZlP Code
2.3

Name

Number Street

City State ZtP Code
2.4

Name

 

Number Street

 

 

 

 

 

 

City State ZlP Code
2.5
Name
Number Street
City State ZlP Code
Oflicia| Form 1066 Schedule G: Executory Contracts and Unexpired Leases Page 1 of1

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'14:36 Page:35 of 59

  

Fill in this information to identify your case:

Debtor1 Char|es Kevin Deal
First Name Middle Name Last Name

 

Debtor 2
{Spouse if. t'iling) l-'irst Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DiSTR|CT OF GEORGlA

 

Case number
iiri<nuwn) |:| Check ifthis is an

amended filing

 

 

Official Form 106H
Schedule H: ¥our Codebtors 12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additiona| Page,
fill it out, and number the entries in the boxes on the left. At'tach the Additional Page to this page. On the top of any Additiona| Pages, write
your name and case number {if known). Answer every question.

1. Do you have any codebtors? (|f you are filing a joint case, do not list either spouse as a codebtor.

l:l No
- Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Communi'ty property states and territories include
Arizona. California, ldaho. Louisiana. Nevada. New l‘\l|exicol Puerto Ricol Texas, Washington, and Wisconsin.)

l No. Go to line 3.

l:l Yes. Did your spouse. former spouse. or legal equivalent live with you at the time?

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
iri line 2 again as a codebtor only if that person is a guarantor or cosigner. llllake sure you have listed the creditor on Schedule D (Official
Form 105Dl, Schedule ElF (Crf'iicial Form 106EIF), or Schedule G (Officia| Form 1066). Use Schedule D, Schedule ElF, or Schedule G to fill

out Column 2.

Column 12 ¥our codebtor
Name. Number. Sueet City. State and ZlP Code

3.‘l John B Anderson Peanut & Grain Co, lnc.

ci'o Char|es Kevin Deal
811 Kevin Deal Road
Statesboro, GA 30458

Column 22 The creditor to whom you owe the debt
Check all schedules that apply:

l:l Schedule D, line
l Schedule Ei'F, line 4.1

E] Schedule G
American Express

 

3.2 John B Anderson Peanut & Grain Co, lnc.

cl'o Char|es Kevin Deal
811 Kevin Deal Road
Statesboro, GA 30458

l Schedule D, line 2.2
l:| Schedule El'F, line

|:l Schedule G

Bank of Dudley

 

3.3 John B Anderson Peanut & Grain Co, lnc.

cio Char|es Kevin Deal
811 Kevin Deal Road
Statesboro, GA 30458

l Schedule D. line 2.3
l:l Schedule E/F, line

l:l Schedule G

Bank of Newington

 

Official Form 106H
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Schedule H: Your Codebtors Page 1 of 3

Best Case Banliruptcy

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Debtor1

Char|es Kevin Deal

- Additional Page to List More Codebtors

Column 12 ¥our codebtor

Case number riftnown)

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Column 22 The creditor to whom you owe the debt

Check all schedules that apply:

 

 

 

 

 

 

3.4 John B Anderson Peanut & Grain Co, lnc. . Schedule D' line 2_4
Cer CharlES Kevin DBE| n Schedule E!|: line
311 Kevin Deal Road m Schedule G ' _
Statesborol GA 30458 B . ___
ank of Newington
3.5 John B Anderson Peanut & Grain Co, lnc. l:l Schedule D, line
cio Char|es Kevin Deal l Schedule Ell: line 4 5
811 Kevin Deal Road ` 4
Statesboro, GA 30458 E|lsl:?;:[:]|;$ M
3.6 John B Anderson Peanut & Grain Co, lnc. l:l Schedule D, line
ClO CharlES Kevin Deal - Schedule E|ll: line 4 9
811 Kevin Deal Road ' '_'_'
l:| Schedule G _
Statesb°r°' GA 3°453 Merritt iviechanicaiii=abrication, LLc
3.7 John B Anderson Peanut 81 Grain Co, lnc. l:l Schedule D, line
cio Char|es Kevin Deal l Schedule E/l: llne 4_112
811 Kevin Deal Road ' _
|I| Schedule G
Statesboro’ GA 3°458 Triangle Chemical Co.
3.8 John B Anderson Peanut & Grain Co, lnc. l:l Schedule D, line
cio Char|es Kevin Deal - Schedule E;l: line 4_3
311 Kevin neal Road ` _
l:l Schedule G _
Statesb°r°’ GA 30458 Logan Hagan Welding Supply, lnc.
3.9 John B Anderson Peanut & Grain Co, lnc. L`_| Schedule D, line
cio Char|es Kevin Deal - Schedule Ell: llne 4_14
811 Kevin neal Road ' _
l:l Schedule G
Statesboro, GA 30458 Wal_Mart Stme_$’ lnc_
3.10 John B Anderson Peanut & Grain Co, lnc. |:l Schedule D, line

ci'o Char|es Kevin Deal
811 Kevin Deal Road
Statesboro, GA 30458

l Schedule Ei'F, line 4.15

l:l Schedule G
We||s Fargo

 

Official Form ‘IOEH

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Schedule H: Your Codebtors

Page 2 of 3

Best Case Bankruplcy

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Debtor1 Char|es Kevin Deal Case number riri<nownl

 

 

- Additional Page to List More Codebtors

Column 12 Your codebtor Column 2.' The creditor to whom you owe the debt
Check atl schedules that apply:

 

Official Form 1061-l Schedule H: Your Codebtors Page 3 of3

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Fill in this information to idenli

Debtor1 Char|es Kevin Deal

 

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: SOUTHERN DiSTRiCT OF GEORG|A

 

Case number _ Check if this is:
wk"'°‘"") i:i An amended filing

l:i A supplement showing postpetition chapter
13 income as of the following date:

Official FOi'm 1061 m
Schedule |: Your income wis

 

 

 

 

Be as complete and accurate as possible. if two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing jointiy, and your spouse is living with you, include information about your
spouse. if you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment

 

 

information Debtor1 Debtor 2 or non-filing spouse
if you have more than one job, - Employed i:i Employed
attach a separate page with Employment Status n Not em lo ed
information about additional m N°i Employed P y
em lo ers.
p y Occupation Farmirlg
include part-time. seasonal, or '
self-employed work. Employer 5 name

 

Occupation may include student EmP|OYer'S address
or homemaker. ii it appties.

 

How long employed there?
Give oetaiis About wionthiy income

Estimate monthly income as of the date you file this form. ii you have nothing to report for any linel write $0 in the space. include your non-iiling
spouse unless you are separatedl

lf you or your non-filing spouse have_more than one emptoyer, combine the information for all employers for that person on the lines helow. tfyou need
more space. attach a separate sheet to this form.

For Debtor 'i For Debtor 2 or
non-filing spouse

List monthly gross wages, saiary, and commissions (before ali payroll

 

 

 

2- deductions). if not paid monthly, calculate what the monthly wage would be. 2- $ 0~00 3 NIA
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ NIA
4. Calcuiate gross income. Add line 2 + line 3. 4. $ 0.00 5 Ni'A

 

 

 

 

 

Official Form 1061 Schedule i: Your income page l

Debtor1 Char|es Kevin Deal Case number (iri<nownl
For Debtor1 For Debtor 2 or
non-filing spouse
Copy line 4 here ____________________________________________________________________________________________________________________________ 4- $ 0.00 3 Ni'A
5. List all payroll deductions:
5a Tax, Medicare, and Social Security deductions 5a. $ O_DO $ N.lA
5b. Mandatory contributions for retirement plans Sb. $ 0_00 $ NlA
5c. Voluntary contributions for retirement plans 5c. $ 0_00 $ N.lA
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ NIA
5e. insurance 5a $ 0.00 5 Nl'A
5f. Domestic support obligations 5f. 5 0.00 $ Nl`A
59. Union dues 59- $ 0.00 5 NIA
5h. Other deductions. Speciiy: 5h.+ 8 0.00 + $ NIA
Add the payroll deductions Add lines 5a+5b+5c+5d+5e+5f+59+5h. 6. 3 0.00 $ NIA
Caicuiate total monthly take-home pay. Subtract line 6 from line 4_ 7. $ 0_00 8 NIA
List all other income regularly received:
Ba. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expensesl and the total
monthly net income. Ba. $ 0.00 $ N.l'A
8b. interest and dividends Sb. $ 0.00 $ NlA
Bc. Family support payments that you. a non-filing spousel or a dependent
regularly receive
include alimony, spousal support child support, maintenancel divorce
settlement and property settlement 8c. $ 0_00 $ Nl'A
Bd. Unempioyment compensation Bd. 5 0_00 5 NIA
Se. Social Security Be. 5 0.00 3 Nl`A
Bf. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive. such as food stamps (benefiis under the Supplemental
Nutriilon Assistance Program) or housing subsidies
Specify: Bf. $ 0.00 S NIA
SQ_ Pension or retirement income 89. $ 0.00 $ NIA
Bh- Other montle income SP€Cifyl Farming income pro rated Bh-+ 3 2,000.00 + $ NIA
9. Add all other income. Add lines 8a+8b+8c+8d+8e+8f+89+8h. 9. 95 2,000.00 $ NlA
10. Caicuiate monthly income. Add line 7 + line 9. 10. $ 2,000_00 + $ N!A = $ 2,000.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
1‘l. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner. members of your household, your dependents your roommatesl and
other friends or relatives
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Speciiy: 11. +S 0_00
12. Add the amount iri the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Stati'stical Summary of Certain Li'abi'ii'tr'es and Related Data, if it
applies S 2,000.00
Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form?

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l No.

 

 

 

 

l:l Y@S- Expial"f Debtor is unsure how much income he may receive from farming or other sources this year -the

 

income listed above is estimated.

 

OFEcial Form i06l Schedule i: Your income

page 2

 

 

 

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Fill in this information to identify your case:

 

 

 

Debtor1 Char|es Kevin Deal ChEClt if this iSI

|] An amended filing
Debtor 2 E| A supplement showing postpetition chapter
lSpouse. if t”iling) 13 expenses as of the following date:
United Siates Bankrupicy Court for the2 SOUTHERN DiSTR|CT OF GEORG|A lVllVl i'DD i' YYYY

 

Case number
(if known]

 

 

 

Official Form 106J
Schedule J: Your Expenses izns

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pagesr write your name and case
number (if known). Answer every question.

 

Describe \'our Household
1. is this a joint case?

- No. Go to line 2.
l:l Yes. Does Debtor 2 live in a separate househo|d?

l:l No
l:l Yes. Debtor 2 must file Official Form 106.1-2. Expenses for Separate Household of Debtor 2.

2. Do you have dependents? . No

Do not list Debtor 1 and l:] yes_ Fill out this information for Dependent’s relationship to Dependent‘s Does dependent
Deblol- 2_ each dependent .............. Debtor 1 or Debtor 2 age live with you?

Do not state the l:l No

dependents names l;l yes
|:l No
l:l ¥es
l:l No
l:l Yes
ij No
l:l Yes

   

 

 

 

3. Do your expenses include - No
expenses of people other than m
yourself and your dependents? Yes

Estimate Your Ongoing tiltonthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule l: Your income

(Ofiicial Form 106|.) Your expenses
Em_

4. The rental or home ownership expenses for your residence include first mortgage

 

 

 

 

 

payments and any rent for the ground or lot. 4- 5 0'00

if not included iri line 4:

4a. Real estate taxes 4a $ 0.00

4b. Properiy. homeowner's, or renter’s insurance 4b. $ 0_00

4c. Home maintenance repair. and upkeep expenses 4c. $ 0_{]0

4d. Homeowner's association or condominium dues 4d. $ 0_00
5. Additionai mortgage payments for your residence, such as home equity loans 5A $ 0_00

 

Official Form 106J Schedule J: ¥our Expenses page 1

CaSe:lS-GOZ?G-SDB DOC#ZJ_ FiledZO7/02/18

Debtor1 Char|es Kevin Deal

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6. Utilities:

6a Electricity, heat. natural gas Ga. $ 120.00

6b. Waterl sewer, garbage collection 6b. S 0.00

Bc. Telephone, cell phone, tnternet. satellite. and cable services 6c. 5 200.00

Gd. Other. Specify: Ed. S 0.00
7_ Food and housekeeping supplies 7. 3 200.00
8. Chitdcare and children's education costs 8‘ $ 0_00
9. Clothingl laundry, and dry cleaning 91 3 0.00
10. Personal care products and services 10. $ 0.00
11. Medica| and dental expenses 11. $ 0.00
12. Transportation. lnclude gas, maintenance bus or train fare.

Do not include car payments 12- $ 240'00
13. Entertainment, clubs, recreation, newspapers, magazines. and books 13. $ 0_00
14. Charitab|e contributions and religious donations 14. 5 0.00
15. lnsurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a Life insurance 15a. 5 0.00

15b. Hea|th insurance 15b. $ 0.00

15c. Vehic|e insurance 15c. S 600.00

15d. Other lnsurance. Specify: 15d. $ D.OO
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

SpECifyZ Taxes 16- 3 140.00
17. lnstallment or lease payments:

17a. Car payments for Vehicle l 17a. $ 343,70

17b. Car payments for Vehicle 2 17b. $ 0_00

17c. Other. Specify: 17c. $ 0.00

17d. Other. Specify: 17d. $ 0.00
18. Your payments of alimony, maintenancel and support that you did not report as

deducted from your pay on line 5, Schedule l', Your income (Official Form 106|). 15- 5 0-°°
19. Other payments you make to support others who do not live with you. $ 0.00

Specity: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule l': Your.lncome.

20a. Mongages on other' property 203. 5 0.00

20b. Rea| estate taxes 20b. 5 0.00

ZOC. Property, homeownersl or renter’s insurance ZOc. $ 0.00

20d. Nlaintenance. repair, and upkeep expenses 20d. $ D_OD

20e. Homeowner's association or condominium dues 206. 3 0_00
21. Other: Specify: 21- +$ 0.00
22. Calculate your monthly expenses

22a Add lines 4 through 21. $ 1,843.70

22b. Copy line 22 (month|y expenses for Debtor 2), it any, from Ofticial Form 106J-2 -

22c. Add line 22a and 22b. The result is your monthly expenses. 5 1,843_7(]
23. Caicuiate your monthly net income.

23a Copy line 12 {your combined monthlyincorne) from Schedule l. 23a $ 2,000.00

23b. Copy your monthly expenses from line 22c above. 23b. -S 1,843_70

23c. Subtract your monthly expenses from your monthly income

The result is your monthly net income 239 $ 156'30

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For exampte, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification 10 the terms Oi yOL|l’ mOl’fQBQE?

ij No.

 

l Yes_ lExplain here: Debtor anticipates he will have to move and will have additional rental expenses

thcia| Form 106J Schedule J: Your Expenses

page 2

CaSe:lS-GOZ?€-SDB DOC#ZJ_ Filed:O?/OZ/J_S Entered207/02/1815244236 Page:42 Ol 59

Fill in this information to identify your case:
Debtor1 Char|es Kevin Deal
First Name Middie Name Last Name

Debtor 2
(Spouse if. iiiing) First Name Middie Name Last Name

 

United States Bankruplcy Court for the: SOUTHERN DiSTR|CT OF GEORG|A

 

Case number
(irnnowri) |:| Check if this is an

amended filing

 

 

 

OtHcia| Form ‘lOBDec
Declaration About an individual Debtor's Schedules wis

lf two married people are filing together, both are equally responsible for supplying correct information.
You must tile this form whenever you file bankruptcy schedules or amended schedules. Niaking a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- Sign Beiow

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

 

-No

|:| Yes. Name of person Attach Bankruptcy Petition Preparei’s Notice,
Deci'aration, and Signature (Oi"ticial Form 119)

 

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

Char|es Kevin Deal Signature of Debtor2
Signature of Debtor 1

Date 91 D¢:~//.Oi<i; Date

 

 

Otiiciai Form 106Dec Deciaration About an individual Debtor’s Schedules

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CaSe:lS-GOZ?€-SDB DOC#ZJ_ Filed:O?/OZ/J_S Entered207/02/1815244236 Page:43 Oi 59

Fill in this information to identify your case:

 

 

 

Debtor 1 Char|es Kevin Deal

First Name Middie Name Last Name
Debtor 2
[Spouse it, filing) First Name Micidie Name Last Name

United States Bankruptcy Court for the: SOUTHERN DiSTR|CT OF GEORG]A

 

Case number
iii knewni ij Check if this is an

amended Hling

 

 

Official Form 107
Statement of Financial Affairs for individuals Filing for Bankruptcy 4i16

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

Give Details About Your Marita| Status and Where You Lived Before
1. What is your current marital status?

i:l |Vlarried
- Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

l No

i:l Yes_ List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Communi'ty property
states and territories include Arizonal Ca|ifornial |daho, Louisiana\ Nevada, New l‘\}|exicol Pueito Rico. Texas, Washington and Wlsconsiri.}

- No
|__.l Yes. Make sure you till out Schedule H: Your Codebtors (Otiiciai Form 106H).

Exp|ain the Sources of Your income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businessesl including part-time activities.
if you are filing a joint case and you have income that you receive together. list it only once under Debtor 1.

 

l:l No
l Yes. Fill in the details
Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check ali that apply. (oefore deductions and Check ali that appiy. (before deductions
exclusions) and exclusions)
Fl’Om Jaf"-Ial’y 1 of Current year ll\'\f" l:l Wages. commissions $19,996.77 l:l Wagesl commissions
the date you filed for bankruptcy: bonusesl tips bonusesl tips
- Operating a business i_-_| Operating 3 business
Ofliciai Form 107 Statement of Financial Affairs for lndlviduais Filing for Bankruptcy page 1

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Dethf? Char|es Kevin Deal

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ase number ririmowm

 

 

 

Debtor1 Debtor 2
Sources of income Gross income Sources of~income Gross income
Check all that app|y. (before deductions and Check all that app|y. (before deductions
exciusions) and exclusions)
For last Cai€ndar Yearf l:i Wages, commissionsl $469,603.00 |:l Wages, commissions
(January 1 to December 31, 2017 j bonuses_ tips bonuses_ tips
l Operating a business i:l Operating a business
For the calendar year before that: |:] Wages_ commissions $490,001.00 [] Wagesl commissions
iJam-'al'l' 1 to Decembe" 311 2015 ) bonuses, tips bonuses. tips
l Operating a business ij Operating a business

 

Did you receive any other income during this year or the two previous calendar years?

include income regardless of whether that income is taxabie. Examp|es of other income are aiimony'l child support; Social Security. unemployment
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings |f you are filing a joint case and you have income that you received together. list it only once under Debtor 1.

List each source and the gross income from each source separatelyl Do not include income that you listed in line 4.

- No
i:| Yes. Fill in the detaiis.
Debtor 1 Debtor 2
Sources of income Gross income from Sources of income Gross income
Describe below. each source Describe below. (before deductions
(before deductions and and exclusions)
exciusions)

List Certain Payments You Nlade Before You Filed for Bankruptcy

6. Are either Debtor 1's or Debtor 2’s debts primarily consumer debts?
. No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
individual primarily for a persona|, famiiy, or household purpose."
During the 90 days before you filed for bankruptcy did you pay any creditor a total of 35.425" or more?

l No. co to line 7_

m Yes List below each creditor to whom you paid a total of $5,425* or more in one or more payments and the total amount you
paid that creditor Do not include payments for domestic support obligations such as child support and atimony. A|so, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4101/1 9 and every 3 years after that for cases filed on or after the date of adjustment

i:i Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you tiled for bankruptcy. did you pay any creditor a total of $600 or more?

|3 No. co to line 7.

n Yes List below each creditor to whom you paid a total of SGDD or more and the total amount you paid that creditor Do not
include payments for domestic support obligations such as child support and alimony. Atso, do not include payments to an
attorney for this bankruptcy case.

Creditor‘s Name and Address Dates of payment Total amount l¢iimount you Was this payment for
paid still owe
7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an ofhcer, director person in contro|, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations such as child support and
alimony.
i:i No
l Yes. List all payments to an insider
lnsider‘s Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2

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Debtor1 Char|es Kevin Deal

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ase number irrknowni

 

|nsider's Name and Address Dates of payment

John B Anderson Peanut & Grain Jan. 2018

Co, lnc.

 

Total amount
paid
$29,000.00

Amount you
still owe

$0.00

Reason for this payment

return of funds withdrawn
from JB Anderson Peanut
& Grain Co

 

B. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an

insider?

include payments on debts guaranteed or cosignec| by an insider
i:l No

- Yes. List all payments to an insider

|nsider's Name and Address Dates of payment

John B Anderson Peanut 81 Grain 216.|'18

Co, lnc.

Total amount Amount you Reason for this payment
paid still owe include creditors name
$68,130.66 $2,828,040.5 Paid Bank of Newington

9 with funds withdrawn from
JB Anderson Peanut &
Grain Co, lnc.

 

identify Lega| Actions, Repossessions, and Forec|osures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuitl court action, or administrative proceeding?
List all such mattersl including personal injury cases small claims actions divorces collection suits. paternity actions support or custody

moditications, and contract disputes

m No
l Yes. Fill in the deals

Case title
Case number

Mayo Ferti|izer, lnc. v. Kevin Deal

Nature of the case

Comp|aint on

Court or agency Status of the case

Superior Court Bu|loch

 

 

 

l Pending
dba JB Anderson Peanut & Grain Account ~ County l:l On appeall
Company Judgment entered Sieba|d Street l:l Concluded
SU‘tSCVZOOP and Defendant Statesboro, GA 30458

filed Nlotion to

Vacate Judgment
Mayo Ferti|izer, lnc. v. Kevin Deal Garnishment Superior Court Bu||och l pending
dba JB Anderson Peanut & Grain County l:l On apneal
Co and Bank of Newington, Sieba|d Street l:l Conclucled
Garnishee Statesboro, GA 30458
1S1BCVOO4M
Nlayo Ferti|izer, lnc. v. Kevin Deal Garnishment Superior Court Tattna|l l pending
dba JB Anderson Peanut & Grain County ij Orl Ell,l‘.,eal
Company P‘O' Box 39 l:l Conc|uded
2018V22JS Reidsvil|e, GA 30453
Merritt Mechanica|lFabricators, Suit on Nota Superior Court Bu|loch l Pending
LLC v. John B. Anderson Peanut & County l:l On appeal
Grain Co., lnc. and Kevin Deal Sieba|d Street l:l Concluded

SU1SCV062P

Statesboro, GA 30458

 

Official Form 107

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Statement of Financial Affairs for lndividua|s Filing for Bankruptcy

page 3

Best Case Bankruptcy

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Debtor 1 Char|es Kevin Deal Case number (ifknowni

 

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or |evied?
Check all that apply and fill in the details below.

|:\ No.Goto|ine11.
l Yes. Fi|| in the information below.

Creditor Name and Address Describe the Property Date Vatue of the
property
Exp|ain what happened
Bank of Newington Various equipment repossessed Sept-Oct 2017 Unknown
P.O. Box 68
Newington, GA 304-46 - Property was repossessed

l:l Property was foreclosed
i:l Property was garnished

|:| Property was attached seized or |evied.

 

CNH industrial Capita| Sprayer and P|anter 2017 Unknown
PO Box 71264
Philad€lphia, PA 19176-6264 - Property Was repossessed

l:l Property was foreclosed
l:| Property was garnished

l:l Property was attached seized or levied

 

Bank of Newington Set-off of funds in bank accounts at Bank Feb. 2018 $28,781.47
P.O. Box 68 of Newington
Newington, GA 30446

l:l Property was repossessed.

I:l Property was foreclosed

ij Property was garnished

- Property was attached seized or levied

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

l No
n Yes. Fi|| in the details
Creditor Name and Address Describe the action the creditor took Date action was Amount

taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors a
court-appointed receiver, a custodian, or another officia|?

l No
\:l ‘i'es

Part 5: List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $BUD per person?
- No
I:l Yes. Fill in the details for each gift.
Gifts with a total value of more than $600 Describe the gifts Dates you gave Va|ue
per person the gifts

Person to Whom You Gave the Gift and
Address:

Official Form 107 Statement of Financial Affairs for Individua|s Filing for Bankruptcy page 4

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Debtor1 Char|es Kevin Deal Case number ilrl<nowni

 

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
- No

l.__l ¥es. Fill in the details for each gift or contribution

Gifts or contributions to charities that total Describe what you contributed
more than $600

Charity's Name

Address (Number, Streei, ciiy. stale and le codei

Dates you Value
contributed

Part 6: List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disastor,
or gambling?
- No
lIl Yes. Fill in the detailsl

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred include the amount that insurance has paid List pending loss lost
insurance claims on line 33 of Schedule A/B.' Property_

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys bankruptcy petition preparers. or credit counseling agencies for services required in your bankruptcy

l:l No

l Yes. Fill in the details

Person Who Was Paid Description and value of any property Date payment Amount of

Address transferred or transfer was payment
Email or website address

 

 

made
Person Who Made the Payment, if Not You
GreenPath, lnc. Credit Counseling 6120»'18 $25.00
H. Lehman Franklin, P.C. Attorney Fees SI2SI1B $4,000.00
P.O. Box 1064
Statesboro, GA 30459
hlfpcbankruptcy@hotmail.com
H. Lehman Franklin, P.C. Filing Fee 6128!18 $335.00

P.O. Box 1064
Statesboro, GA 30459
h|fpcbankruptcy@hotmai|.com

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

l:l No
l Yes. Fill mine details

Person Who Was Paid Description and value of any property Date payment Amount of

Add ress transferred or transfer was payment
made

H. Lehman Franklin, P.C. Paid for representation of Debtor in Feb - Mar $5,000.00

P.O. Box 1064 various court actions and negotiations 2018

Statesboro, GA 30459 with creditors

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
lnclude both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

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a

56 l`lU|'n

Debtorqla%i;fi_|§§€*&%i;€d§||]B DOC#ZJ_ Fl|ed:O?/OZ/J_S Entel’ed2033/02/1§815244236 Page:48 Of 59

 

include gifts and transfers that you have already listed on this statement

l:l No
l Yes Fill in the details

Person Who Received Transfer

Address

Person's relationship to you

Description and value of
property transferred

t` (ll'known}

 

Describe any property or
payments received or debts
paid in exchange

Date transfer was
made

 

 

Groover Mi|l Farms, LLC 41 .27 acres - Kevin Deal $144,500 - paid Bank of 5110!2017
Road Newington
Unknown Case Combine $160,000 - used to pay 8/16}16
debts
John McCormack Colombo Dumpcart $31,000 - used to pay 2017
debt

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

l No
\:I Yes. Fill in the details.

Name of trust Description and value of the property transferred Date Transfer was

made

List of Certain Financial Accounts, lnstruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
lnclude checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unionsl brokerage
houses, pension funds. cooperatives, associations and other financial institutions

. No
lZl Yes. Fill in the details

Name of Financial institution and Last 4 digits of Ty pe of account or Date account was Last balance

Address (Nutnl:ier, street, city. state and ziP account number instrument closed, sold, before closing or
C°dei moved, or transfer
transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?
l No
El Yes Fill in the details

Name of Financial institution
Address tNui-nber. streel, city. state and zlP cadet

Who else had access to it? Describe the contents Do you still

Address iNumber, street city, have it'?
State and ZlP Code]

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

l No
El Yes Fill in the details
Name of Storage Faci|ity Who else has or had access Describe the contents Do you still

Address (Nnmher, street. city. state and zlP cedei to it? have it?

Address (Numbet, street city.
State and ZlP Code)

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

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ebtor ase

harles Kevin Deal num er (irlrnewn)

 

 

identify Property You Hold or Contro| for Someone Else

 

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for, or hold in trust

for someone.

- No

|Ii Yes Fill in the details

Owner's Name Where is the property? Describe the property Va|ue
Address ¢Nurntrer, streetl city, state and zlP cede) tNumbsr. Stmsf. Ci¢v. State and ZlP

Code]

Part 10: Give Detai|s About Environmental information

 

For the purpose of Part 10, the following definitions apply:

- Environmental law means any federai. state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, iand, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastesl or materia|.

Site means any |ocation, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous su bstance. fOXif-'- SubS'farlCE,
hazardous materiai, pollutant, contaminant, or similarterm.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental iaw?

- No

iZi res Fill in the details

Name of site Governmentai unit Environmental iaw, if you Date of notice
Address lnunrber. streer, city. state and zlP cedei Add ress tunnrber. street. city. state and know it

ZlP Code)

25. Have you notified any governmental unit of any release of hazardous materia|?

. No

iii Yes. Fill in the details

Name of site Governmentai unit Environmental law, if you Date of notice
Address (Nurnber, slreet. city, stale and zlP cadet Address tNuntber, street. city, state and know it

ZlP Code}

26. Have you been a party in any judicial or administrative proceeding under any environmental law'? include settlements and orders.

- No

|Ii res Fill in the details
Case Title Court or agency Nature of the case Status of the
Case Number Name case

Address (Number. Street. city,
State and ZlP Code)

Part 11: Give Detai|s About tour Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
- A sole proprietor or self-employed in a tradel profession, or other activityr either full-time or part-time
l:l A member of a limited liability company (LLC) or limited liability partnership (LLP)
l:l A partner in a partnership

- An officer, director, or managing executive of a corporation

- An owner of at least 5% of the voting or equity securities of a corporation

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

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DBblOf‘l Char|es Kevin Deal Case number [lfkriown)

 

El No. None of the above applies. Go to Part 12.

- Yes. Check all that apply above and fill in the details below for each business.

 

 

Business Name Describe the nature of the business Employer identification number
Address Do not include Social Security number or lTlN.
[Number, Street. City, State and ZlP Code] Name of accountant or bookkeeper
Dates business existed

John B Anderson Peanut & Grain Agri Retail ElN: XX-XXXXXXX
Co, lnc.
cio Charles Kevin Deal Paul Harmon F"°""T° 1977 - present (Debtor purchased
811 Kevin Deal Road irl 2013)
Statesboro, GA 30458
Cross Creek Farms Farming ElN: 58-17770456

Paul Harmon Fr°m'T° 07 - present
Bu|loch Gin, lnc. Debtor is on the board of ElN: XX-XXXXXXX

directors

Fr°m'T° 1988 - present

 

Kevin Deal Farms Farming ElN: 261739861

Paul Harmon F"°""'T° 07 -present

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? lnclude all financial
institutions, creditors, or other parties.

l:l No
l Yes Fill in the details belew.

Name Date issued
Address

(Numher, Street. Gity, State and ZlP Code)

Bank of Newington

P.O. Box 68

Newington, GA 30446

Bank of Dudley
P.O. Box 4098
Dub|in, GA 31040

Part12: Sign Be|ow

| have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the answers
are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud irl connection
with a bankruptcy case can result in fines up to $250.000, or imprisonment for up to 20 years, or both.

13 u.s.c. §§ 152, 1341, 1519, and 3571.

C-Q~\¢~'.bz, l L_`~ M_,

 

 

 

 

Charles Kevin Deal Signature of Debtor 2
Sig nature of Debtor 1
Date ©7/02./'2 r') l Y Date

’ lr

Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Officia| Form 107)?
l No

|:i Yes

Did you pay or agree to pay someone who is not art attorney to help you fill out bankruptcy forms?

l No

l:| Yes. Name of Person . Attach the Bankruptcy Petition Preparer's Notlce. Declaration. and Signature (Official Form 119)_

Offlcia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page B

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CaSe:lS-GOZ?€-SDB DOC#ZJ_ Filed:O?/OZ/J_S Entered207/02/1815244236 Page:Bl Oi 59

Fill in this information to identify your CaSe-' Check one box only as directed in this form and in Form

122A-1Supp:

Debtor1 Charles Kevin Deal

 

(E;:H;f i‘?ming) - 1. There is no presumption of abuse

l:l 2. The calculation to determine if a presumption of abuse
applies will be made under Chapter 7 Means Tesi
Caicuiai‘ion (Otiicial Form 122A-2).

United States Bankruptcy Court for the: Southern District ot Georgia

 

Case number
(’fk"°“""l l:l 3. The Nleans Test does not apply now because of
qualified military service but it could apply later.

 

 

l:l Check if this is an amended filing

Official Form 122A - 1
Chapter 7 Statement of Vour Current lVlonthly income 12i15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accuratel if more space is needed,
attach a separate sheet to this form. include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). if you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying militaryr service, complete and file Statement of Exempti‘on from Presurription ofAbuse Under§ 707(.6)(2) lOfficlal Form 122A-1Supp) with this t`on'ri.

 

Caicuiate ‘i’our Current Month|y income

 

1. What is your marital and filing status? Check one on|y.
l:l Not married. Fill out Column A. lines 2-11.
l:l iii|arried and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
l:l Married and your spouse is NOT filing with you. You and your spouse are:
l:l Living iri the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

l:l Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box. you declare under
penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
living apart for reasons that do not include evading the Nieans Test requirements 11 U.S.C § 707(b){7)(B).

Fill in the average monthly income that you received from ali sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §

101 (10A). For examplel if you are i'iling on September15. the G-month period would be March t through August 31 . if the amount of your monthly income varied during
the 6 months, add the income for ali 6 months and divide the total by Ei. Fill in the result Do not include any income amount more than once. For example if both
spouses own the same rental property. put the income from that property in one column oniy. il you have nothing to report for any line, write 50 in the space

Column A Column B
Debtor1 Debtor 2 or
non-filing spouse

 

2_ Your gross wages, salary, tips. bonuses, overtime, and commissions (before all

 

payroll deductions)_ 5
3. Alimony and maintenance payments. Do not include payments from a Spouse if
Column B is filled in_ $

 

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. include regular contributions
from an unmarried partner. members of your househoid. your dependents, parents,
and roommates. include regular contributions from a spouse only if Column B is not
Hlled in. Do not include payments you listed on line 3. 3

5. Net income from operating a business, profession, or farm

 

 

 

 

 

 

Debtor 1
Gross receipts (before all deductions) 5
Ordinary and necessary operating expenses '5
Net monthly income from a business, profession, or farm 5 C°PY here '> 5 $
6. Net income from rental and other real property
Debtor 1
Gross receipts (before all deductions) 3
Ordinary and necessary operating expenses '$
Net monthly income from rental or other real property 5 Copy here '> 5 $
7. lnterest, dividends, and royalties 3 $
Of'Ecial Form 122A-1 Chapter 7 Statement of `Your Current Month|y income page 1

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Debiori Charles Kevin Deal case numberiirinown)
Column A Column B
Debtor1 Debtor 2 or
non-filing spouse
8. Unempioyment compensation $ $

 

Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. lnstead, list it here:
For you __$

 

benefit underthe Social Security Act. $ 5
10. income from ali other sources not listed above. Specify the source and amount

Do not include any benefits received under the Social Security Act or payments

received as a victim of a war crime, a crime against humaniiy, or international or

domestic terrorism. if necessary. list other sources on a separate page and put the

total below.

 

 

Total amounts from separate pagesl if any. + 8 $

 

11. Caicuiate your total current monthly income. Add lines 2 through 10 for + __
each column Then add the total for Column A to the total for Column B. 5 $ _ $

 

 

 

 

 

 

 

Total current monthly
income

Determine Whether the Means Test Applies to You

12. Caicuiate your current monthly income for the year. Fo|low these steps:

 

12a. Copy your total current monthly income from line 11 Copy line 11 here=> $

 

 

Mu|tip|y by 12 (the number of months in a year) x 12

 

12b. The result is your annual income for this part ol-lhe form 12b. $

 

 

 

13. Caicuiate the median family income that applies to you. Fo|low these steps:

Fill in the state in which you live. ‘:|
Fill in the number of people in your household. \:l

Fill in the median family income for your state and size of household 13_ $
To Hnd a list of applicable median income amounis. go on|ine using the link specined in the separate instructions
for this form. This list may also be available at the bankruptcy clerk's ofl'ice.

 

 

 

 

14. How do the lines compare?
14a. l:l Line 12b is less than or equal to line 13. On the top of page 1, check box 1l There is no presumption ofabuse.
Go to Part 3.
14b. l:l Line 12b is more than line 13. On the top of page 1. check box 2. The presumption ofabuse is determined by Form 122A-2.
Go to Part 3 and till out Form 122A-2.

By signing herel l declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

Charles Kevin Deal
Signature of Debtor 1

Date O_//U ?~/l() /.3_\>
Mlvl'l DD l'YY¥Y
if you checked line 14a, do NOT t`ii| out orfile Form 122A-2.

 

 

if you checked line 14b, lill out Form 122A-2 and fite it with this form.

 

Official Form 122A~1 Chapter 7 Statement of Your Current l\ilonthly income page 2
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Fill in this information to identify your case:

Debtor 1 Charles Kevin Deal

Debtor 2
(Spouse, if liling)

 

United States Bankruptcy Court for the: Southern District of Georgia

 

Case number l:| Check if this is an amended filing
(if known)

 

Official Form 122A - iSupp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2) iziis

 

 

Fi|e this supplement together with Chapter 7 Statement of Your Current Monthl‘y income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse_ Be as complete and accurate as possib[e. lf two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
personai. famiiy. or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
individuals Filing for Bankruptcy (Ofliciai Form 1).

 

- No. Go to Form 122A-1; on the top of page 1 of that forml check box 1, There is rio presumption of abuse, and sign Part 3. Then submit this
supplement with the signed Form 122A-1.

l:l Yes. Go to Part 2.

Determine Whether l'iili|itary Service Provisions App|y to You

 

2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
l:l No. Go to line 3.

l:l Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
10 Li.S.C_ § 101(ci)(1); 32 Li_s_o. § 901(1).

l:l No. Go to line 3.

l:l Yes. Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption ofabi.ise, and sign Part 3. Then
submit this supplement with the signed Form 122A-1.

3. Are you or have you been a Reservist or member of the National Guard?
m No. Complete Form 122A-1. Do not submit this supplementl
l:l Yes. Were you called lo active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
l:l No. Complete Form 122A-1. Do not submit this supplement.

l:l Yes. Check any one of the following categories that applies:
if you checked one ofthe categories to the |ei’t, go to Form
l:l l was called to active duty after September11, 2001. for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3.
90 days and remain orr active du|y_ The Means Test does riot apply now. and sign Part 3. Then
submit this supplement with the signed Form 122A-1_ ¥ou
l:l l was called to active duty after September11, 2001. for al least are nor required to nil out the rest of Orncia| Form 122A_1
90 days and was released from active duty on , during the exclusion period The exclusion period means
which is fewer than 540 days before l file this bankruptcy oase. me time you are on active duly or are performing a

h l ddfe t"t. df 540d _11
l:l | am performing a homeland defense activity for at least 90 days. U(_?§_a§ 70;“3;1(§(§§(=;'_\/ an m ays afterward

l:l l performed a homeland defense activity for at least 90 days,
ending on .which is fewer than 540 days before i
die this bankruptcy case.

lf your exclusion period ends before your case is closed,
you may have to tile an amended form !ater.

 

 

 

Official Form 122A-1Supp Statement of Exemptiori from Presurnption of Abuse Under § 707(b)(2} page 1
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Notice Required by 11 U.S.C. § 342(b) for
individuals Filing for Bankruptcy (Form 2010)

 

 

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.

§ 101(8) as "incurred by an individual
primarily for a personall famiiy, or

household purpose."

 

Chapter 7: Liquidation

 

 

 

The types of bankruptcy that are available to
individuals

individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

‘(ou should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Notice Required by 11 U.S.C. § 342(b] for individuals Filing for Bankruptcy (Form 2010)

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$245 filing fee
$75 administrative fee

+ $15 trustee surcharge

 

$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt
property to be used to pay their creditors The
primary purpose of filing under chapter 7 is to have
your debts discharged The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts1 and liens on property may still
be enforced after discharge For example a creditor
may have the right to foreclose a home mortgage or
repossess an automobile

HoWever, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge

You should know that even if you file chapter 7 and
you receive a discharge some debts are not
discharged under the |aw, Therefore, you may still
be responsible to pay:

most taxes;

most student ioans;

domestic support and property settlement
obligations;

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most finesl penalties, forfeituresl and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers

You may also be required to pay debts arising from:
fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you infiicted; and

death or personal injury caused by operating a
motor vehicle vessel, or aircraft while intoxicated
from alcohol or drugs

if your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Monthly income (Oflicia| Form 122A-1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

if your income is not above the median for your statel
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Caicuiation (Ofdcia| Form
122A-2).

if your income is above the median for your state, you
must file a second form -the Chapter 7 ll/ieans Test
Caiculafion (Official Form 122A-2)_ The calculations on
the form_ sometimes called the Means Test_deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors lf

Notice Required by 11 U.S.C. § 342¢\1] for individuals Filing for Bankruptcy (Form 2010]

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your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Test, the U.S. trustee bankruptcy
administratorl or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code if a
motion is filed. the court will decide if your case should
be dismissed To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code

if you are an individual filing for chapter 7 bankruptcyl
the trustee may sell your property to pay your debtsl
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property The
propertyl and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property Exemptions may
enable you to keep your home a car. clothingl and
household items or to receive some of the proceeds if
the property is so|d.

Exemptions are not automatic To exempt property,
you must list it on Schedule C.' The Property You Claim
as Exempt (Officia| Form 1060). |fyou do not list the
property, the trustee may sell it and pay ali of the
proceeds to your creditors

 

Chapter 11: Reorganization

 

$1,167 filing fee

+ $550 administrative fee

$1,717 total fee

Chapter 11 is often used for reorganizing a businessl
but is also available to individuals The provisions of
chapter 11 are too complicated to summarize briefly

page 2

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Read These im - ortant Warnin- s

Because bankruptcy can have serious long-term financial and legal consequencesl including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Oniy an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. if you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your famiiy, your home, and your possessions

A|though the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successful|y. The rules are technicai, and a mistake
or inaction may harm you. if you file without an attorney, you are still responsible for knowing and

following ali ofthe legal requirements

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. illlaking a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Chapter 12: Repayment plan for family
farmers or fishermen

 

$200 filing fee
+ 575 administrative fee
$275 total fee

 

Similar to chapter 13l chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge Some debts that
are not paid_

 

Chapter 13: Repayment plan for
individuals with regular
income

 

$235 filing fee
+ $75 administrative fee
531 0 total fee

 

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(!:|) for individuals Filing for Bankruptcy (Form 2010)

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Under chapter 13, you must his with the court a plan
to repay your creditors all or part of the money that
you owe theml usually using your future earnings if
the court approves your plan, the court will allow you
to repay your debts as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors

After you make all the payments under your pian,
many of your debts are discharged The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations

most student loans

certain taxes

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injuryl and

certain long-term secured debts

page 3

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Warning: File Your Forms on Time

Section 521 (a)(“l) of the Bankruptcy Code requires that
you promptly file detailed information about your
creditors assets, liabilities income expenses and
general financial condition The court may dismiss your
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules of the court

For more information about the documents and
their deadlines go to:
http;llwww.uscourts.qovlbkformslbankruptcy form

s.html#procedure.

 

 

 

Bankruptcy crimes have serious consequences

if you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury_either orally or in writing-in
connection with a bankruptcy case you may be
fined, imprisoned or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney Generai acting through the Office of the
U.S. Trusteel the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

|lllake sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for individuals
Filing for Bankruptcy (Official Form 101 ). To ensure
that you receive information about your case,
Bankruptcy Ru|e 4002 requires that you notify the court
of any changes in your address

Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)

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A married couple may file a bankruptcy case
together_cal|ed a joint case if you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency 11 U.S.C. § 109(h). if you are filing a joint
case, both spouses must receive the briefing With
limited exceptions you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
lnlernet.

in addition. after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge if you are
filing ajoint casel both spouses must complete the
course

You can obtain the list of agencies approved to provide
both the briehng and the instructional course from:
http:lljustice.qovlustleolhapcpaiccdelcc approved.htmi

ln Aiabama and North Carolinal go to'.
http:llwww.uscourts.gov/Federa|CourtslBankruptcy/
BankruptcyResourceslApprovedCredit

And Dethounselors.aspx.

if you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the |lst.

page 4

Best Case Bankruptcy

Case:18-60276-SDB Doc#:l

CHARLES KEVlN DEAL
811 KEVlN DEAL ROAD
STATESBORO GA 30458

H. LEH|VIAN FRANKL|Nl JR.
H. LEHlVlAN FRJ¢\NKL|Nl P.C.
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STATESBORO, GA 30459

ALLTRAN FiNANC|AL LP
P.O. BOX 722929
HOUSTON TX 77272-2929

AMER|CAN EXPRESS
PO BOX 981535
EL PASO TX 79998-1535

BANK OF AlV|ERlCA
P.Cl. BOX 45224

JAC KSONVILLE FL 32232-5224

BANK OF DUDLEY
P.O. BOX 4098
DUBL|N GA 31040

BANK OF NEWINGTON
P.O. BOX 68
NEWINGTON GA 30446

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CONNER LAW GROUF’, PC
P.O. BOX 10720
SAVANNAH GA 31412

EVERYWHERE CARD
PO BOX 723847
ATLANTA GA 31139-0847

FARiVl BUREAU BANK, FSB
PO BOX 33427
SAN ANTONIO TX 78265

FAR|V|ER lViAC

1999 K STREET. NW
4TH FLOOR
WASH|NGTON DC 20006

FlVlS, lNC.
P.O. BOX 707600
TULSA OK 74170-7600

FULLER SUPPLY CO |NC.
PO BOX 2191
BlRlVllNGHA|Vi AL 35201

|NTERNAL REVENUE SERV|CE

P.O. BOX 7346
PH|LADELPH|A PA19101-7346

N|AYO FERT|L|ZER, |NC.
PO BOX 357
lVlAYO FL 32066

NiERRlTT |VlECHANiCAL/FABR|CA`[
1270 GA HWY 93 N
CAIRO GA 39827

NAT|ONSTAR lVlORTGAGE, LLC
DBA |VlR. COOPER

P.O. BOX 619094

DALLAS TX 75261-9741

NES|V||TH CHEVROLET
7334 US HWY 280 W
CLAXTON GA 30417

R. BRUCE WARREN
WH|TEHURST, BLACKBURN & WA
809 SOUTH BROAD STREET
THOMASVILLE GA 31792

R. KENNY STONE, P.C.
P.O. BOX 681
STATESBORO GA 30459

R. LEE BROWN, JR.

MOORE, CLARKE, DUVAL.L & ROl:1
PO DRAWER 71727

ALBANY GA 31708-1727

BULLOCH COUNTY TAX COMM|SS[ONE”HN B ANDERSON PEANUT 81 GRA|NSUICD]_UNH]SlNESS ADM|N|STRAT

P.O. BOX 245
S`|'ATESBORO GA 30459

CNH |NDUSTR|AL CAP|TAL
PO BOX 71264

PHlLADEl_PH|A PA 19176-6264

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811 KEVlN DEAL ROAD
STATESBORO GA 30458

233 PEACHTREE STREET, NE
SU|TE 300
ATLANTA GA 30303

LOGAN HAGAN WEL.DFNG SUPPLY, |NCTR|ANGL.E CHE|V||CAL CO.

P.O. BOX 1609
STATESBORO GA 30459

117 PRESTON COURT
lVlACON GA 31210

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UN|ON BANK

CARD SERV|CES CENTER
P.O. BOX 2988

OMAHA NE 68103-2988

US ATTORNEY
P_O. BOX 8970
SAVANNAH GA 31412

US BANK, NA

AS CUSTOD|ANFFRUSTEE FOR FAMC
1133 RANK|N STREET, STE 100
SAiNT PAUL iVlN 55116

WAL-|VlART STORES, |NC.
702 SW 8TH STREET
BENTONV|LLE AR 72716

WELLS FARGO
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DALLAS `i`X 75320-6740

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